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  1        DISTRICT COURT, COUNTY OF DENVER,
           STATE OF COLORADO
  2
  3        Court Address:
           1437 Bannock Street
  4        Denver, CO 80202                              ^ COURT USE ONLY ^
         ____________________________________________________________
  5
  6        ERIC COOMER, Ph.D.,                           Case No. 20CV34319
  7                   Plaintiff,                         Courtroom 409
  8        vs.
  9        DONALD J. TRUMP FOR PRESIDENT, INC.,
           SIDNEY POWELL, SIDNEY POWELL, P.C.
 10        RUDOLPH GIULIANI, JOSEPH OLTMANN,
           FEC UNITED, SHUFFLING MADNESS
 11        MEDIA, INC., d/b/a CONSERVATIVE DAILY,
           JAMES HOFT, TGP COMMUNICATIONS LLC
 12        d/b/a THE GATEWAY PUNDIT, MICHELLE
           MALKIN, ERIC METAXAS, CHANEL RION,
 13        HERRING NETWORKS, INC.,
           d/b/a ONE AMERICA NEWS NETWORK,
 14        and NEWSMAX MEDIA, INC.,
 15                   Defendants.
         ____________________________________________________________
 16
             VIDEO VIDEOCONFERENCED DEPOSITION OF JOSEPH OLTMANN
 17                            September 8, 2021
         ____________________________________________________________
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  1                             PURSUANT TO WRITTEN NOTICE and the

  2       appropriate rules of civil procedure, the video

  3       videoconferenced deposition of JOSEPH OLTMANN, called for

  4       examination by the Plaintiff, was taken remotely,

  5       commencing at 10:04 a.m. on September 8, 2021, before

  6       Laurel S. Tubbs, a Registered Professional Reporter,

  7       Certified Realtime Reporter and Notary Public in and for

  8       the State of Colorado.

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  1                              P R O C E E D I N G S

  2                           THE VIDEOGRAPHER:         Here begins the

  3       deposition of Joseph Oltmann.            Today's date is

  4       September 8th, 2021.       The time on the video is 10:04.

  5                           Counsel, please identify yourselves for

  6       the record and state whom you represent.

  7                           MR. CAIN:    Charlie Cain for the Plaintiff.

  8                           MS. DEFRANCO:       Ingrid DeFranco and Andrea

  9       Hall for Mr. Oltmann.

 10                           THE VIDEOGRAPHER:         Will the court reporter

 11       please swear in the witness after her read.

 12                           THE REPORTER:       The attorneys participating

 13       in this deposition acknowledge that I am not physically

 14       present in the deposition room and that I will be

 15       reporting this deposition remotely.                 They further

 16       acknowledge that in lieu of an oath administered in

 17       person, the witness will verbally declare his testimony

 18       in this matter is under penalty of perjury.                 The parties

 19       and their counsel consent to this arrangement and waive

 20       any objections to this manner of reporting.                 Please

 21       indicate your agreement by stating your name and your

 22       agreement on the record, beginning with the taking

 23       attorney.

 24                           MR. CAIN:    Charlie Cain.          I agree.

 25                           MS. HALL:    Andrea Hall and Ingrid

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  1       DeFranco.      We agree.

  2                                   JOSEPH OLTMANN,

  3       having been first duly sworn or affirmed, was examined and

  4       testified as follows:

  5                                       EXAMINATION

  6       BY MR. CAIN:

  7                    Q.     State your full name, please.

  8                    A.     Joseph Oltmann.

  9                    Q.     Mr. Oltmann, you understand you're here to

 10       give testimony as a result of a court order issued by

 11       Judge Moses in this case, correct?

 12                    A.     I do.

 13                    Q.     Part of what she asked us to do is to

 14       provide exhibits to you via your counsel.              We did so last

 15       night.     Those exhibits were to be printed out and put in a

 16       binder.

 17                           Do you have a binder of exhibits in front

 18       of you?

 19                    A.     I do not.       I have a computer screen with

 20       those up, though.

 21                    Q.     Mr. Oltmann, instead of being in person, we

 22       are obviously conducting this deposition via Zoom, so I'm

 23       not there to -- to look at what you're looking at or

 24       perceive any information that you're getting outside of

 25       the context of my questions and your answers.              So let me

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  1       explain a couple of things to you.

  2                            First of all, you are to not have any

  3       recording devices in your office.               You are in your office,

  4       are you not?

  5                    A.      It doesn't matter where I am.         It's not

  6       relevant.

  7                    Q.      You are in your office?

  8                    A.      It's not relevant.

  9                    Q.      Let me explain to you, sir, how this is

 10       going to go.        I'm going to ask the questions.         You're

 11       going to answer my questions.             It's up to your counsel to

 12       advise you if they perceive that there's a privilege issue

 13       or some other reason that you shouldn't answer my

 14       questions.

 15                            Are you in your office or not?

 16                    A.      (No Response.)

 17                            MS. HALL:    Objection, Charlie.       It's not

 18       relevant.      Move on.

 19                            MR. CAIN:    Are you instructing your client

 20       not to answer the questions where he's physically

 21       located?

 22                            MS. HALL:    Move on.

 23                            MR. CAIN:    Yes or no.

 24                            MS. HALL:    I said, Yes.       Move on, Charlie.

 25       It's not relevant.

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  1                           MR. CAIN:       Don't talk over me.

  2                    Q.     (By Mr. Cain)          It's important, Mr. Oltmann,

  3       that you and I understand each other.                  If there's some

  4       reason that you don't understand my questions, will you

  5       stop me, ask me to rephrase the question, so that I can be

  6       sure that you understand what I'm asking you and you're

  7       answering the question that I'm asking?

  8                    A.     Yes.

  9                    Q.     Are you recording -- do you have a

 10       recording device with you where you're sitted -- or

 11       seating now currently?           Are you recording this?

 12                    A.     No.     This is being recorded.

 13                    Q.     No, I understand that.

 14                           My question is:           Are you recording it

 15       separately?

 16                    A.     No.

 17                    Q.     Mr. Oltmann, you are to not communicate

 18       outside the parties during the course of this deposition.

 19       That would include getting instructions on how to answer

 20       questions from your counsel.

 21                           Do you understand that?

 22                    A.     Yes.

 23                    Q.     I want only your testimony and your

 24       testimony alone.          Who else is with you physically right

 25       now?

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   1                          MR. CAIN:      Charlie, I'm going to object to

   2      this line of questioning.            How is this relevant?       You've

   3      not done this with one other person that you've done a

   4      deposition over Zoom with.             So I suggest you start asking

   5      questions because your time is running.

   6                   Q.     (By Mr. Cain)         Who else is with you

   7      physically present --

   8                          MR. CAIN:      And I'm not going to allow

   9      speaking objections, and I will ask for more time if you

  10      keep it up.

  11                   Q.     (By Mr. Cain)         Who else is with you,

  12      Mr. Oltmann?

  13                   A.     My attorneys.

  14                   Q.     Anyone else?

  15                   A.     No.

  16                   Q.     Mr. Oltmann, have you reviewed the

  17      protective order that Judge Moses entered in this case?

  18                   A.     No.

  19                   Q.     Are you aware that there's a protective

  20      order that would prohibit the disclosure of individuals

  21      that were on the antifa call or your conduit to that call,

  22      disclosure outside of these proceedings?              Are you aware of

  23      that?

  24                   A.     Yes.

  25                   Q.     Are you prepared to testify today regarding

                                                                     Page 10

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   1      the identity of your conduit to the antifa call?

   2                   A.     Can you repeat that question again?

   3                   Q.     Are you prepared to testify today

   4      concerning the identity of the individual or individuals

   5      who gave you access to the antifa call?

   6                   A.     To a certain extent.

   7                   Q.     To what extent?

   8                   A.     To the extent that I give you what

   9      information is readily available.

  10                   Q.     Who provided you access -- what's the

  11      identity of the individual or individuals who provided you

  12      access to the antifa call?

  13                   A.     I made a commitment not to disclose the

  14      name of that person.          Unfortunately, that person who is

  15      known to me is actually in my notes.

  16                   Q.     In the notes of the call?

  17                   A.     Yes.

  18                   Q.     Okay.     Who is it?

  19                   A.     That's all I'm going to say.

  20                   Q.     You understand the Court has ordered you to

  21      provide us that information.               You understand that?

  22                   A.     I'm not going to provide that information.

  23                   Q.     I'm sorry?

  24                   A.     Mr. Coomer is on this call.          Mr. Coomer is

  25      the one that presented the antifa manifesto in his social

                                                                      Page 11

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   1      media.     Mr. Coomer was the one that was on that call.            So

   2      as a result of that, no protection order would protect

   3      this individual.

   4                   Q.     Who is the -- who is the person that was

   5      your conduit?       Give me the identity of that person.

   6                          Are you refusing to answer my question?

   7                   A.     I answered your question already.        You

   8      just didn't like the answer.

   9                   Q.     No.   I didn't get the answer to the

  10      question.      The question was:         Who is the person or persons

  11      who served as the conduit for you to be on the antifa

  12      call?    Give me the name.

  13                   A.     I gave you the information as it relates

  14      to the information that's in my notes, and you have my

  15      notes.     So therefore you have that name.

  16                   Q.     Joey Camp?

  17                   A.     No.

  18                   Q.     All right.      Who?

  19                   A.     The information as to who gave me access

  20      to that call is inside of the notes.

  21                   Q.     All right.      One of the documents that I

  22      identified for you was Plaintiff's Exhibit 29, which I

  23      understand to be your notes.

  24                          Do you have that?

  25                   A.     Hold on one second.

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   1                          MR. KIMREY:         Mr. Cain, this is Blaine

   2      Kimrey.     Have these exhibits been provided to the other

   3      counsel of record in this case?

   4                          MR. CAIN:       Yes.

   5                          MR. KIMREY:         I will note for the record

   6      that I did not receive copies of these exhibits.                   I am

   7      counsel for OANN and Chanel Rion.                 Can you have your

   8      office forward to me a file of the exhibits right now?

   9                          MR. CAIN:       No.     I think, Blaine -- and

  10      welcome to the case -- you should have the Exhibit Share

  11      function and you can -- you can view them on that through

  12      Veritext.      But I don't want to waste time on the record

  13      with this right now.

  14                          MR. KIMREY:         Okay.     Fair enough.

  15                          MR. CAIN:       We can talk about it off-line.

  16                   Q.     (By Mr. Cain)          Do you have Exhibit 29 up,

  17      Mr. Oltmann?

  18                   A.     I'm actually not seeing Exhibit 29.

  19                   Q.     It's a copy of your notes.

  20                   A.     Okay.     I'm looking at it now.

  21                   Q.     All right.        And these are notes, correct me

  22      if I'm wrong, that you say were taken contemporaneously by

  23      you while you were on that call; is that true?

  24                   A.     Yes.

  25                   Q.     Okay.     And this is one, two, three -- four

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   1      pages of notes, correct?

   2                   A.      Yes.

   3                   Q.      Where in your notes is the identity of your

   4      conduit to the call reflected?

   5                   A.      It is -- it is on this page, yes.

   6                   Q.      Which page?        There's a Bates stamp -- what

   7      we call Bates stamp down on the bottom right.                  205, 206,

   8      207, 208 are the page numbers on these notes.                  Which page?

   9                   A.      There's no stamp on this page.            Oh, there

  10      it is.     205.

  11                   Q.      All right.       So 205 starts, Who is Eric

  12      Dominion guy.        Is that the one you're looking at?

  13                   A.      It is.

  14                   Q.      Denver, Colorado Springs, question mark?

  15      Then there's the Brian.            Who's Brian?        If I'm reading that

  16      correctly.        Does that say Brian?

  17                   A.      That is not -- that is not who gave me

  18      access to the call.

  19                   Q.      Who is Brian?

  20                   A.      He's an antifa member.            He's a journalist,

  21      I think.

  22                   Q.      What's his last name?

  23                   A.      I don't know.

  24                   Q.      Was he on the call?

  25                   A.      I don't recall actually.            I'd have to go

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   1      through my notes.

   2                   Q.     The next name is -- that appears to be a

   3      name is Bev, B-e-v.          Who is that?

   4                   A.     How do I get to the other pages?

   5                          MS. HALL:       Just scroll up.

   6                          THE DEPONENT:          Oh, scroll up.    Okay.   Got

   7      it.

   8                   Q.     (By Mr. Cain)          Who is Bev, that's the

   9      question I asked?

  10                   A.     Bev is the name of somebody that came up

  11      on the call.

  12                   Q.     What do you mean?            You saw a name appear?

  13                   A.     Yes.

  14                   Q.     Okay.     Do you have a last name?

  15                   A.     No.

  16                   Q.     Do you know who she is?

  17                   A.     No.

  18                   Q.     Was this a Zoom?           Was this a Zoom call?

  19                   A.     Yes.

  20                   Q.     So you could see the name of the

  21      participants that had logged into the call, at least with

  22      respect to Bev, right?

  23                   A.     Yes.

  24                   Q.     Okay.     Did you see Eric Coomer on the Zoom

  25      call reflected?

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   1                   A.     No.

   2                   Q.     Sam -- well, actually before I move off of

   3      Bev.     Have you subsequently learned who this person is,

   4      Bev?

   5                   A.     Yes.     It's an antifa member.

   6                   Q.     Okay.     What do you know about her?

   7                   A.     Not a lot, actually.

   8                   Q.     All right.        What do you know?

   9                   A.     Not a lot.        I'd have to review my notes.

  10                   Q.     Is there something -- when you say your

  11      notes, are you referring to Exhibit 29 or some other

  12      notes?

  13                   A.     Just information that I would have

  14      on -- on her.

  15                   Q.     Okay.     Are those reflected on Exhibit 29 or

  16      some other notes?

  17                   A.     It wasn't pertaining to any of this

  18      hearing, so I don't even -- I know that --

  19                          THE REPORTER:          I'm sorry, but there's too

  20      much background noise.           I can't understand the witness.

  21                          Could I have the answer repeated, please?

  22                          THE DEPONENT:          There's no noise on my

  23      side.

  24                   Q.     (By Mr. Cain)          Can you repeat your answer?

  25      She didn't hear you.          She needs to get it down for the

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   1      record.

   2                   A.     I did collect notes on some of these

   3      people.     So if I have notes on her, then it would

   4      be -- it wouldn't be in these notes, though.

   5                   Q.     Okay.     But you do have notes reflecting

   6      some investigation of who she was?

   7                   A.     I have questions that I asked when I

   8      started contacting other people that were doing research

   9      on antifa specifically.

  10                   Q.     Okay.     So do you have notes that reflect

  11      who she is -- who her identity is?

  12                   A.     I was -- I was never able to uncover who

  13      she is, specifically.

  14                   Q.     How about any organization she's involved

  15      with?     Do you know that?

  16                   A.     Antifa.

  17                   Q.     The next name is Sam with a question mark.

  18      Who are you referring to there?                Is that your conduit?

  19                   A.     No.

  20                   Q.     Who is Sam?         What information do you have

  21      on this person?

  22                   A.     He's an antifa member.

  23                   Q.     How do you know?

  24                   A.     Because he was on the call.

  25                   Q.     Do you have a last name?

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   1                   A.     No, no, not as it pertained to the

   2      information I was able to collect here.

   3                   Q.     Well, why did you qualify that?          Do you

   4      have any identifying information on this Sam who was on

   5      the call?

   6                   A.     I was told by someone else that a man that

   7      went by the name of Sam died a couple months ago.                  He was

   8      heavily involved in antifa.

   9                   Q.     Who told you that?

  10                          MS. HALL:     Object to form.

  11                   Q.     (By Mr. Cain)        You can answer.

  12                   A.     It doesn't --

  13                          THE REPORTER:        I'm sorry.    I just --

  14                   A.     I said it doesn't have to do with Eric.

  15                   Q.     (By Mr. Cain)        Who told you that is the

  16      question?      You can answer the question.

  17                   A.     Joey Camp.

  18                   Q.     Yan-ni is the next name.          And then there's

  19      a dash RD knows.

  20                          Is Yan-ni the conduit to your participation

  21      on this call?

  22                   A.     No.

  23                   Q.     Do you know who Yan-ni is?          Do you have a

  24      last name or any other identifying information?

  25                   A.     He goes by the name of Yan or Yan-ni.             He

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   1      seems to be an enforcer for the Antifa/BLM movement.

   2                   Q.     Were you able to identify this person

   3      beyond that?

   4                   A.     To some degree, yes.

   5                   Q.     Okay.     Tell me -- do you have an address?

   6      Do you have a last name?            What identifying information do

   7      you have?

   8                   A.     Just information related to the fact that

   9      he was not a journalist.            I wasn't able to disqualify him

  10      from being a journalist.

  11                   Q.     How?

  12                   A.     By looking up all known people that go by

  13      Yan or Yan-ni.

  14                   Q.     When you were looking up all known people

  15      that go by Yan or Yan-ni, were you able to determine who

  16      this person is specifically?               Is he a mechanic in the

  17      Springs?

  18                   A.     No.     Because that's not what I was looking

  19      for.

  20                   Q.     So if -- if you wanted to get in touch with

  21      Yan-ni at this point -- or Yan, you wouldn't know how to

  22      do it?

  23                   A.     I didn't try to get in touch with an

  24      antifa member.       I didn't try.

  25                   Q.     Okay.     So you -- you don't have any

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   1      information beyond what you told me about Yan or Yan-ni;

   2      is that true?

   3                   A.     No, that's not true.

   4                   Q.     What other information do you have on this

   5      person?

   6                   A.     That he's an antifa member.

   7                   Q.     You've already told me that.     I said what

   8      other information.

   9                   A.     I'm trying to find the information.      So

  10      hold on a second.       I'll see if I can pull up a --

  11                   Q.     Tell me what you're doing when you're doing

  12      it too.     Are you on --

  13                   A.     I'm just searching files to see anything

  14      that I have on Yan or Yan-ni.

  15                   Q.     I only have so much time, so if you can't

  16      find it now, then at a break we can see if we can pull

  17      that information down.

  18                   A.     All right.     Sounds good.

  19                   Q.     Then there's a dash RD knows.     Who's RD?

  20      What do those initials stand for?

  21                          What are you looking at, Mr. Oltmann?

  22                   A.     My attorney.

  23                   Q.     Who is RD?     The lawyer can't give you the

  24      answer.     I can't -- this is not their deposition.       This is

  25      your deposition.

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   1                   A.     I'm not sure you understand the

   2      significance of what we're dealing with.                 As a matter of

   3      fact, I don't think you care.            So I'm going to answer

   4      it -- I'm going to answer it this way.                 You asked me for

   5      an answer, I'm going to give you an answer.

   6                          In the last two weeks we've had two antifa

   7      members that have targeted and tried to kill other

   8      people.     We have one that tried to assassinate a guy in

   9      Olympia, Washington.       We have another guy in California

  10      that was hunted for stabbing someone at a protest, who is

  11      a known antifa member.

  12                          We have Joey Camp who's currently in

  13      hiding and had to move locations twice in the last couple

  14      of months due to antifa putting a hit out on his life.

  15      There's another gentleman that worked for Project Veritas

  16      out of New York and in 2019/2020 had a posted bounty for

  17      his head.

  18                          And then there's the dark web of the

  19      bounty that's currently on my head by antifa in Colorado

  20      and other states.       So you want me to divulge information

  21      which, frankly, would need someone like Eric Coomer back

  22      to this individual for retribution.                 And since we know

  23      that the history of Coomer is to have retribution against

  24      people, there's a hesitation on my side to divulge

  25      anything based on the imminent danger to that particular

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   1      individual.

   2                          MR. CAIN:       Objection.         Nonresponsive.

   3                   Q.     (By Mr. Cain)          Who is RD?      And I'm going to

   4      ask the Court for more time if this continues.                   I want

   5      responses to my questions.

   6                   A.     I answered the question.

   7                   Q.     Who is RD?

   8                   A.     I'm asking for the truth, and you can't

   9      handle the truth.          Or you don't care about the trust,

  10      which is obvious by how you act in a courtroom and how

  11      you lie in your proceedings.

  12                   Q.     Who is RD?        Are you going to answer my

  13      question or not?          What does that stand for?

  14                   A.     That stands for the individual that gave

  15      me access to the call.

  16                   Q.     What's the name?

  17                   A.     That's his name.

  18                   Q.     RD is his name?

  19                   A.     Is his name.

  20                   Q.     What's his last name?

  21                   A.     RD.

  22                   Q.     No, sir.       That -- that's not his name.

  23                   A.     That's his --

  24                   Q.     Give me the name.

  25                   A.     That's the information I have on that

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   1      individual.

   2                   Q.     Pardon?

   3                   A.     That is the information that I have on

   4      that individual.

   5                   Q.     That's the entirety of the information.

   6      You know this person by RD, period?

   7                   A.     I know that person by RD.

   8                   Q.     And you don't know his first name?

   9                   A.     I know that person by RD.

  10                   Q.     Do you know his actual first name or not?

  11                          MS. HALL:    Objection.

  12                   Q.     (By Mr. Cain)       Let's quit playing games.

  13                          MR. CAIN:    Counsel, I'm asking a question.

  14                          MS. HALL:    He's answered you three times.

  15                   A.     I answered the question.

  16                          MS. HALL:    You don't like the answer.       He

  17      told you he knows the individual by the initials RD.

  18                   Q.     (By Mr. Cain)       Do you know his actual name,

  19      is the question.

  20                   A.     His name is RD.        That is his name.

  21                   Q.     Do you know -- what's his last name?

  22                   A.     RD is his name.        If you know anything

  23      by --

  24                   Q.     What is his last name, sir?        What is his

  25      last name?

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   1                   A.     If you know anything about the antifa

   2      movement, everyone in antifa uses names -- other names.

   3      That is the name that he gave me.

   4                   Q.     What is Eric Coomer's antifa name?

   5                   A.     What do you mean Eric Coomer's antifa

   6      name?

   7                   Q.     You said everybody in antifa uses other

   8      names.     What is his -- Eric Coomer's antifa name?

   9                   A.     I believe Eric Coomer loves his notoriety.

  10      I believe Eric Coomer is one that likes to be in the

  11      middle of the limelight.         I believe Eric Coomer is the

  12      one that wants to be the one in charge.                 And frankly, on

  13      the call, no one knew -- or there were people that didn't

  14      know who he was because they asked who he was.

  15                   Q.     Sir, you're being evasive.            I --

  16                   A.     That is not evasive.            That is the answer

  17      to the question.       You asked a question; I answered it.

  18                   Q.     I know.    I asked a different question that

  19      you didn't answer.

  20                   A.     What was that?

  21                   Q.     So let me ask this question again.

  22                          Are you in contact with RD --

  23                   A.     I'm not.

  24                   Q.     -- or not?

  25                          When is the last time you spoke with this

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   1      individual?

   2                   A.     Five months ago, six months ago.

   3                   Q.     Where does this person live?

   4                   A.     I do not know.

   5                   Q.     In Colorado?

   6                   A.     I do not know.

   7                   Q.     How did you get in touch with this person

   8      initially?

   9                   A.     He showed up at an FEC meeting.

  10                   Q.     Where?

  11                   A.     In Castle Rock, Colorado.

  12                   Q.     Is he a member of FEC?

  13                   A.     I do not know the answer to that.

  14                   Q.     Who would?

  15                   A.     I would have to check and see if the

  16      member --

  17                          THE REPORTER:       I'm sorry, sir.   Just a

  18      moment.     I'm sorry.       I just didn't hear or understand the

  19      last part of the answer.          Can you repeat, please?

  20                          THE DEPONENT:       I would have to check with

  21      FEC to see if they have a record of him in their

  22      memberships.

  23                   Q.     (By Mr. Cain)       Can you do that for me since

  24      we're taking FEC's deposition tomorrow?

  25                   A.     Hold on.

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   1                   Q.     All right.     I'm going to circle back to

   2      what I was asking you about RD.             Do you know this person's

   3      actual name or not?

   4                          MS. HALL:     Object to form.

   5                   A.     He presented himself as RD.

   6                          MR. CAIN:     Objection.        Nonresponsive.

   7                   Q.     (By Mr. Cain)       My question is:      Do you

   8      know --

   9                          MS. HALL:     He answered the question.           You

  10      don't like the answer.          That's your problem.        You've

  11      asked this question at least five times.                He's answered

  12      the question.       And you keep asking the same question, and

  13      you don't like the answer.

  14                          MR. CAIN:     Ms. Hall, you can guarantee

  15      that I'm going to be asking for more time if you keep

  16      interrupting my questions.

  17                   Q.     (By Mr. Cain)       My question was:      Do you

  18      know his actual ID beyond these initials?                Do you know his

  19      name, and you're just not providing it to me?

  20                   A.     He was known to me as RD.           He was very,

  21      very careful and very, very scared about himself coming

  22      out in any of this.       I've already given you more

  23      information than I think I'm probably -- that I've been

  24      told I can give.

  25                   Q.     (By Mr. Cain)       Told by whom?

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   1                          MS. HALL:       Objection.

   2                   A.     I've given -- I've answered your question.

   3                   Q.     (By Mr. Cain)          No, you haven't.

   4                          My question is this:               You say he presented

   5      himself as RD.       That's fine.          I understand your testimony

   6      there.     But my question wasn't how he presented himself.

   7      My question was:          Do you actually know his -- his full

   8      name -- his identification and you're just not providing

   9      that to me?

  10                   A.     I do not know his full name.

  11                   Q.     Do you know his first name?

  12                   A.     I've never verified his identity.

  13                   Q.     So you don't know his first name?

  14                   A.     He was known to me as RD.               I've given you

  15      the information of who he is.

  16                   Q.     RD isn't a first name.               And my question is:

  17      Do you know what the R stands for?

  18                   A.     No.

  19                   Q.     Let's go about it that way.               Richard?

  20      Roger?     Rick?    Do you know?

  21                   A.     I do not know what the R stands for.

  22                   Q.     Do you know what the D stands for?               His

  23      last name, perhaps?

  24                   A.     I do not know what the D stands for.

  25                   Q.     Do you have contact information for him?                  A

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   1      phone number?

   2                          THE REPORTER:        I'm sorry.      The answer?

   3                          THE DEPONENT:        I do not.

   4                   Q.     (By Mr. Cain)        You said five or six months

   5      ago was the last time you were in contact with him.                    Is

   6      that your testimony?

   7                   A.     To the best of my recollection, yes.

   8                   Q.     How did you get in touch with him?

   9                   A.     Through a Signal.

  10                   Q.     What is his Signal handle?

  11                   A.     RD.

  12                   Q.     Have you produced your communications from

  13      Signal to your counsel with RD?

  14                          MS. HALL:     Objection.         You're asking for

  15      attorney-client privileged information.                 He's not

  16      answering that question.

  17                          MR. CAIN:     No, I'm not asking for

  18      attorney-client information.             The fact of providing the

  19      information to counsel isn't privileged.

  20                          MS. HALL:     Yes, it is.

  21                          MR. CAIN:     It doesn't fall under advice.

  22                   Q.     (By Mr. Cain)        Do you have access to your

  23      Signal communications with RD, Mr. Oltmann?

  24                   A.     No.

  25                   Q.     Why not?

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   1                   A.       Because Signal deletes after 5 minutes,

   2      10 minutes.         Those communications are deleted inside the

   3      app.

   4                   Q.       So there -- there is information that you

   5      have in terms of communications with your conduit that

   6      have been deleted as a result of the use of the Signal

   7      app?    Is that your testimony?

   8                   A.       That's not what I said.

   9                   Q.       What's -- what's incorrect about my

  10      statement?

  11                   A.       When someone communicates with you via

  12      Signal, they set the standard for what can be kept inside

  13      of that conversation.

  14                   Q.       Okay.

  15                   A.       It's a limitation of the technology.

  16                   Q.       I understand that.            But my -- my question

  17      was, there are communications or were between you and RD

  18      that have been deleted?

  19                   A.       Not true.

  20                   Q.       So you still have them?

  21                   A.       I do not have them.

  22                   Q.       Because they have been deleted?

  23                   A.       That is not true.            That is a play on words

  24      by you.     That is not what happened.                   What happened is, is

  25      the app limitation is that those are deleted.                      When

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   1      someone communicates with you, they set the standard by

   2      which you can keep those communications.

   3                   Q.     When did you initially contact -- or make

   4      contact with RD?

   5                   A.     End of July, I believe, early September.

   6                   Q.     2020?

   7                   A.     Yes.

   8                   Q.     Describe the -- your initial contact with

   9      this person.

  10                   A.     I was at a meeting.                He walked up to me

  11      and said that he was a part of antifa and he was leaving

  12      it, and that it was not the same organization as when it

  13      started and something to that effect.                     And I basically

  14      glad handed him and said, I'm glad you're not a part of

  15      antifa anymore.       Shook his hand and told him to stick

  16      around and get involved.

  17                          I shook probably another 100, 150 other

  18      people's hands at the same time.                 That was the first -- I

  19      think that was the first time I met him.

  20                   Q.     How is it that -- well, just walk me

  21      through the progression, Mr. Oltmann, that you shook his

  22      hand at an FEC meeting in you said July or September.

  23                          When was your next contact with him?                Walk

  24      me through that progression, please.

  25                   A.     He made a couple of attempts to contact

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   1      me.

   2                   Q.     How?

   3                   A.     Through Signal.          I think -- let me -- let

   4      me go back a little bit.           I think through Signal.          I

   5      can't find any text communication from him, and I don't

   6      think I gave him my email -- or my phone number.                   I know

   7      he made a couple of -- he made a couple of attempts to

   8      contact me, and I did not return his call or I did not

   9      respond.

  10                   Q.     When he attempted to contact you, what was

  11      he saying?

  12                   A.     I don't remember.            I don't recall.    I

  13      probably get somewhere between 3 and 400 people in a

  14      given week to try to contact me.

  15                   Q.     Did you ever communicate with him via cell

  16      phone number?

  17                   A.     No.

  18                   Q.     Via email?

  19                   A.     No.

  20                   Q.     Via regular text?

  21                   A.     No.

  22                   Q.     All the communications with RD that weren't

  23      in person were through Signal?

  24                   A.     I believe so.         Yes.

  25                   Q.     So when he attempted to contact you a few

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   1      times, you didn't respond to those, then what happened

   2      next?

   3                   A.       He showed up at another FEC meeting, which

   4      was -- I think it was the beginning of September, to the

   5      first week of September.             And this time he walked up to

   6      me again and said, you know, I've been trying to reach

   7      out to you.         I -- I can get you access to these --

   8      getting in the antifa call.

   9                   Q.       How did he know you wanted access?

  10                   A.       I don't think he knew that I wanted access

  11      or didn't want access.            He had just made a statement at

  12      the previous conversation that he was a part of antifa

  13      and that these people that are writing things about you,

  14      they're antifa members inside of -- they're antifa

  15      journalists.

  16                            And so it piqued my interest before, but I

  17      wasn't -- I was not surprised.                 And this time by telling

  18      me he can give me access to that call, definitely piqued

  19      my interest.

  20                   Q.       This FEC meeting that you just testified

  21      about, was this also in Castle Rock?

  22                   A.       Yes.

  23                   Q.       Are those meetings -- do you have sign-ins

  24      sheets or anything that would identify who attended the

  25      meetings?

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   1                   A.      I think we started to do that, yes.

   2                   Q.      Do you still have FEC meeting sign-in

   3      sheets from this time period?

   4                   A.      No.

   5                   Q.      Why not?

   6                   A.      Because they're not kept.            They're written

   7      in papers.        We wouldn't keep those -- that information.

   8                   Q.      Well, you -- you acquire the information.

   9      Do you then convert it into an electronic record?

  10                   A.      We take the emails and convert those into

  11      electronic records, yes.

  12                   Q.      Okay.     Did -- did RD provide an email?

  13                   A.      I do not know.          I did tell you that I

  14      would check the logs for members for the deposition

  15      tomorrow.

  16                   Q.      All right.        While you're at it, can you

  17      also look at the sign-in sheets or however that's now

  18      notated to see if you have information for RD?

  19                           MS. HALL:       Charlie, just for the record,

  20      he told you that he did not keep those.                  If anything,

  21      there would be an email address.                  And he already

  22      confirmed that he would look that up.

  23                   A.      I will check for that information,

  24      nonetheless.

  25                   Q.      (By Mr. Cain)          You said that he indicated

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   1      that he had some information on antifa journalists.                    Who

   2      did he say he had information on?

   3                   A.      I do not believe at that time he told me

   4      about any one person in particular.

   5                   Q.      Okay.     What happened next with respect to

   6      this guy?

   7                   A.      He became more agitated.           He contacted me

   8      and told me what day that was going to happen, which I

   9      don't recall the actual day.                It was a pretty busy time

  10      for us at FEC and a pretty busy time for us as a country.

  11      I invited him to come to my office.

  12                   Q.      Where you're sitting now?

  13                           MS. HALL:       Objection.

  14                   Q.      (By Mr. Cain)          Is that where you -- you met

  15      with him where you're sitting now?

  16                           MS. HALL:       Objection, Charlie.      I told you

  17      it's not relevant and he's not answering the question.

  18                   Q.      (By Mr. Cain)          Are you going to not answer

  19      my question?        Did you meet with RD where you're sitting

  20      now?

  21                   A.      The purpose of this deposition being

  22      remote is to protect me.             I have to sit here for three

  23      hours, and there is no way I'm going to disclose where I

  24      am right now that could lead anybody on your side to

  25      become here and do harm to me.                 So I will not divulge

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   1      where I'm --

   2                   Q.      Mr. Oltmann, you know what, I've listened

   3      to you say our side wants to do harm to you --

   4                   A.      I am.

   5                   Q.      -- multiple times.

   6                           You don't have any evidence of that, and

   7      there's absolutely no reason we would want any harm to

   8      come to you.        I want you to be sitting there at -- during

   9      trial.     Okay?

  10                           Do you understand that?

  11                   A.      You ask me a question; I'll answer the

  12      question.      You want to put your -- your

  13      little -- whatever you want to call what you said, your

  14      opinion, I have no interest in listening to you.

  15                           I will answer your questions.              I'm here

  16      for three hours to answer your questions.                    Not to be

  17      badgered by some prick.             So you figure out what questions

  18      you want to ask me.           You ask me those questions, and I

  19      will answer those questions.

  20                   Q.      Okay.     Did you meet with RD there where

  21      you're sitting?

  22                           MS. HALL:       Objection.         Charlie, I told

  23      you, move on.        He's not answering that question.              You

  24      already went down this road.                And it's not relevant to

  25      the issue of defamation where he met with this person.

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   1                   Q.     (By Mr. Cain)         Let me ask you this way --

   2                          MS. HALL:      And whether or not he's there

   3      now.

   4                          MR. CAIN:      Ms. Hall, enough.

   5                   Q.     (By Mr. Cain)         Let me ask you this:     You

   6      said he was agitated, and you had a meeting with him,

   7      correct?

   8                   A.     Yes.

   9                   Q.     Describe his appearance for me.

  10                   A.     I'm sorry?

  11                   Q.     If I need to pick him out of a line-up,

  12      describe his appearance.           How tall is he?        What color of

  13      hair?    How old is he?        What race or ethnicity?

  14                   A.     This is unbelievable.

  15                   Q.     Describe him.

  16                          They can't answer your questions.            They can

  17      make legal objections, not speaking objections.                 They

  18      can't answer the questions that I'm asking you.                 This is

  19      why I wanted this in the courthouse.

  20                   A.     You want it in the courthouse because you

  21      wanted to have me arrested.             You said so in -- with

  22      conferral with counsel.

  23                   Q.     Describe --

  24                   A.     Exact words, actually.            Even though in the

  25      courtroom you lied to me.

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   1                   Q.     I did not say that.             That's false.   I did

   2      not say that to your counsel.

   3                          MS. HALL:    Charlie, I'm not going to get

   4      into this during this deposition, but you did say that on

   5      the phone.

   6                          MR. CAIN:    I did not.

   7                          MS. HALL:    Okay.      Well --

   8                          MR. CAIN:    I never said I want to get him

   9      arrested.      And you're wasting my time.

  10                   Q.     (By Mr. Cain)       Describe the physical

  11      appearance of RD.

  12                   A.     He's a white male.

  13                   Q.     How old?

  14                   A.     Under 30.

  15                   Q.     Do you know his educational background,

  16      where he went to school?

  17                   A.     I do not.

  18                   Q.     Do you know what he does for a living?

  19                          MS. HALL:    Objection.           Relevance.

  20                   Q.     (By Mr. Cain)       Do you know what he does for

  21      a living?

  22                   A.     I'm not going to answer that question.

  23                   Q.     Do you know?

  24                   A.     I'm not going to answer that question.

  25                   Q.     Why not?    This is identity of your conduit.

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   1      You're under a court order to answer these questions.

   2                   A.     Oh, I'm very aware of that.

   3                   Q.     Okay.

   4                   A.     I'm also aware that the judge in this case

   5      marched in June of 2020 in an antifa protest.                   I'm also

   6      aware of that.

   7                   Q.     And, in fact, you've called her an antifa

   8      judge, haven't you?

   9                          MS. HALL:       Charlie, what's the relevance

  10      of this?     Like, I mean, what he believes of the judge or

  11      what he's done on his own time is not relevant to a

  12      defamation case with your client Eric Coomer.

  13                          MR. CAIN:       I don't think you know what is

  14      relevant, and quit interrupting this.

  15                          MS. HALL:       No.     I have the ability to --

  16                   Q.     (By Mr. Cain)          Haven't you referred to --

  17                          MR. CAIN:       No, we're going to get into

  18      what is antifa and what isn't, which is highly relevant

  19      to this.     And he's called Eric Coomer a member of antifa.

  20      We're going to talk about that.

  21                   Q.     (By Mr. Cain)          You've called the judge an

  22      antifa judge, haven't you?              I want to know what qualifies

  23      someone to be part of antifa?

  24                          Why did you call the judge an antifa judge?

  25                          MS. HALL:       Objection.         Relevance.

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   1                   Q.      (By Mr. Cain)          What makes someone a member

   2      of antifa?        That's the point of my question.

   3                   A.      It's a pretty well-organized organization

   4      for something they say isn't organized.

   5                   Q.      Okay.     But what makes someone part of

   6      antifa?     Are you going to answer my question?

   7                           You called the judge an antifa judge in our

   8      case.     You've referred to Dr. Coomer as a member of

   9      antifa.     What makes either of them part of antifa?

  10                           MS. HALL:       Objection with regard to the

  11      judge.

  12                   A.      Eric being on an antifa call.              Eric

  13      putting up posts that were pro antifa, anti-American,

  14      anti-police.        Posting literally right after antifa put

  15      the manifesto out there, the next day he posted it on his

  16      social media.

  17                   Q.      (By Mr. Cain)          Anything else?

  18                           Marching in a rally, marching in a Black

  19      Lives Matter protest, does that make someone a member of

  20      antifa?

  21                           MS. HALL:       Objection.         Relevance.

  22                   A.      I think being on an antifa call where you

  23      say that somebody is not going to win, and you made sure

  24      of it, probably makes you a part of antifa.

  25                   Q.      (By Mr. Cain)          We'll get to that.

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   1                   A.     Communicating with journalists, who are

   2      antifa journalists, journalists that stand up for the

   3      fascist/antifascist movement, would probably qualify them

   4      as antifa.

   5                   Q.     Anything else you can think of?         You've

   6      called the judge an antifa judge.              That's why I'm asking

   7      you what -- what about that would qualify -- our judge

   8      would qualify her as part of antifa?

   9                          MS. HALL:    Objection, Charlie.       Move on

  10      with this questioning with regard to the judge.              It is

  11      not relevant to your defamation case.

  12                          MR. CAIN:    Yeah, it is.       I want to know

  13      what -- what makes someone antifa.

  14                          MS. HALL:    But you keep referring --

  15                          MR. CAIN:    Calling my client -- I'm not

  16      debating with you, Ms. Hall.

  17                          MS. HALL:    Well, then I'm going to start

  18      instructing my client not to answer your question.                It's

  19      not relevant to your lawsuit.            What is going on with the

  20      judge, what he said about the judge is not relevant to

  21      Eric Coomer.

  22                          MR. CAIN:    I'm talking about antifa.

  23                          MS. HALL:    No, you're not.       You keep

  24      referring to the judge.

  25                          MR. CAIN:    I'm not asking you, Ms. Hall.

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   1      Ms. Hall, we're trying to figure out in your client's

   2      mind what makes someone a member of antifa.              He's called

   3      the judge an antifa judge because she marched in a --

   4      allegedly, I have no knowledge of this -- in a rally or

   5      some form of a protest.

   6                   Q.     (By Mr. Cain)       What makes that -- take the

   7      judge out of it.       What makes someone who's involved in

   8      that activity antifa?

   9                          MS. HALL:    That's been asked and answered.

  10                          MR. CAIN:    He hasn't answered it.

  11                   A.     I did answer it.

  12                   Q.     (By Mr. Cain)       What makes someone, in your

  13      mind, an antifa journalist?

  14                   A.     A radical leftist that communicates openly

  15      with other radical leftists that stand for antifa being

  16      antifascist, who are then themselves are the racist

  17      pedophiles and racists of our society.              Typically white

  18      extremist liberals.

  19                   Q.     And they have to be racist and pedophiles?

  20      Is that part of your definition?

  21                   A.     This isn't a deposition.

  22                   Q.     It is a deposition.

  23                   A.     This is a battering session for you

  24      because you don't like the fact that I call you out.              And

  25      I'm --

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   1                   Q.     I don't --

   2                   A.     I'm sorry I hurt your feelings.

   3                   Q.     I could care less about anything --

   4                   A.     Let's talk about -- let's talk about

   5      antifa and what antifa does.             And let's talk about the

   6      qualifications of the judge because that's what you

   7      wanted to ask.       So I'll talk about that.

   8                          MS. HALL:     No, don't.

   9                   Q.     (By Mr. Cain)        No, sir.    I just want

  10      answers, and you're being evasive.

  11                   A.     I'm not being evasive.

  12                   Q.     If you can't tell me who this person is

  13      that was your conduit beyond a white male under 30 with

  14      the initials RD.

  15                          Do you have anything else going back to RD

  16      that would inform me on who this person is?

  17                   A.     No.

  18                   Q.     You would not identify where he works.

  19                   A.     I don't know where he works.          And that

  20      wasn't your previous question.

  21                   Q.     Did you ever know where he was employed?

  22                   A.     No.

  23                   Q.     Do you have any employment information on

  24      him?

  25                   A.     No.

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   1                   Q.     Do you know what city he lived in during

   2      the period of time you were dealing with him?

   3                   A.     Denver Metro area.

   4                   Q.     Do you know anybody else who knows him,

   5      friends of his, family?

   6                   A.     I've given you all the information on him.

   7      That is what I'm under a court order to disclose, and

   8      I've disclosed that.

   9                   Q.     You didn't answer my question.

  10                          Do you know any of his friends,

  11      people -- other people who know him?                Family members?

  12                          Either you know it or you don't.

  13                   A.     (No response.)

  14                   Q.     I'm going to reclaim this time at some

  15      point.     So there's no point in you just sitting there and

  16      not responding to me.

  17                          Do you know the answer to my question?

  18                   A.     (No response. )

  19                   Q.     Family members?        Friends?

  20                   A.     (No response. )

  21                   Q.     I'm taking by your silence that you do.            Do

  22      you know, sir?

  23                   A.     I know that the goal of this is to uncover

  24      this individual, so this --

  25                   Q.     Absolutely.

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   1                   A.      -- so this person is put in danger.

   2                   Q.      Not true.

   3                   A.      If you put the person in danger, you hope

   4      to punish this person the same way that I'm being

   5      punished with a court order --

   6                   Q.      Sir?

   7                   A.      The same way that the couple thousand

   8      people that have signed affidavits across the country

   9      have been punished and threatened.

  10                   Q.      You have no evidence that we want to do

  11      anything like that and nothing could be further from the

  12      truth.

  13                           What I want to know is what happened on

  14      this call, and who got you on it and who else was there,

  15      which you haven't provided to anyone at this point.           So

  16      that's why I'm asking these questions.

  17                           Do you know friends or family of this RD,

  18      and you're just not telling me?

  19                           Are you refusing to give me that

  20      information?

  21                   A.      (No response.)

  22                   Q.      Okay.

  23                   A.      I don't want to speculate.

  24                   Q.      Did your counsel just provide you with

  25      information?        I didn't -- I couldn't hear it, but off

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   1      camera I want to make sure that Ms. Tubbs got that.

   2                          MS. HALL:       I told him not to speculate.

   3                          THE REPORTER:          I cannot hear the

   4      whispering.

   5                   Q.     (By Mr. Cain)          Okay.       But I'm not asking

   6      you to speculate.

   7                          THE REPORTER:          I cannot hear the

   8      whispering.

   9                   A.     He did not show up to these meetings

  10      alone.

  11                   Q.     (By Mr. Cain)          Okay.       Who did he show up

  12      with.

  13                   A.     I don't know.

  14                   Q.     Describe him.          Same person?       Multiple

  15      people?

  16                   A.     No.     The same person, yes.

  17                   Q.     What's the name of the person he showed up

  18      with?

  19                   A.     I don't remember.

  20                   Q.     Male or female?

  21                   A.     Male.

  22                   Q.     Friend?

  23                   A.     I assume so.

  24                   Q.     Okay.     So you know he has a friend that

  25      showed up at the meetings.              Is that person still part of

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   1      FEC?    Does he show up at meetings still?

   2                   A.     He was not an FEC person, I think they

   3      brought him in.       I think it's just another person that

   4      came with him.

   5                   Q.     Okay.     But this other individual -- do you

   6      know who they are?          Are they showing up at FEC meetings?

   7                   A.     No.

   8                   Q.     Okay.

   9                   A.     And I'm not at many of the FEC meetings

  10      currently.

  11                   Q.     All right.        So you said that -- you

  12      mentioned that RD was agitated during one of your meetings

  13      where you, I guess, won't identify where you were at at

  14      this particular meeting.

  15                          But what was he agitated about,

  16      Mr. Oltmann?

  17                   A.     So maybe agitated is probably the wrong

  18      word.    Scared, paranoid.          Wouldn't meet me for coffee at

  19      a coffee shop.       Would make sure that I was -- he was

  20      10 minutes late.          I would ask him questions about, you

  21      know, who he is as a person.               Typical things that I would

  22      do when trying to mentor someone who I think is going

  23      down the wrong path.

  24                   Q.     Okay.     And then how did this develop to him

  25      getting you on an antifa call, as you define it?

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   1                   A.      I don't understand the question.

   2                   Q.      Well, you were meeting with him.            You said

   3      you had coffee.        He was scared and paranoid.            I want you

   4      to walk me through the history of -- of your relationship

   5      with this person and how he got you on the call.

   6                   A.      And the history was pretty vanilla.            I met

   7      with him for coffee, as I do many people.                  I met with him

   8      at a park.        Just having conversations about who he is, to

   9      validate who he is, up to the point where I was on the

  10      call.    I think it was more for -- as much for him as it

  11      was for me.

  12                   Q.      What did you learn about him that you

  13      haven't testified to during this getting-to-know-you

  14      process?     You said you were at a park.               You learned about

  15      who he is.        What did you learn?

  16                   A.      I learned that he has family members that

  17      are part of antifa.

  18                   Q.      And?     Is that it?

  19                   A.      I learned that he just wanted to do good

  20      and he thought that antifa was truly doing good.

  21                   Q.      Okay.     Anything else?

  22                   A.      I learned that he had kids.

  23                   Q.      Is he married?

  24                   A.      And I learned that his fear is, is that

  25      his kids would grow up under the same thing that he went

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   1      through when he grew up, and that they would be dragged

   2      into something like this that would take him down a path

   3      that he couldn't get them off of.

   4                   Q.     Did you learn whether he was married or

   5      not?

   6                   A.     He's in a relationship, yes.

   7                   Q.     Do you know who his partner is?

   8                   A.     I have not.

   9                   Q.     Never met him or her?

  10                   A.     I have not.

  11                   Q.     All right.        So this -- this

  12      getting-to-know-you process occurred during what period of

  13      time?    The summer of 2020?

  14                   A.     No.     It happened -- it went back in time

  15      and said July to September, I met with him a couple

  16      times.     It was a pretty busy time given all the unrest

  17      that was happening in Denver.

  18                   Q.     Okay.     Then where did the idea come that he

  19      would provide you access to a call?

  20                   A.     At first he said that he didn't have the

  21      information for when the call would occur.              And I believe

  22      he called me a couple days before the call to ask me

  23      questions, and then we had the -- the call itself.

  24                          Now, I did attempt to -- I think I can

  25      divulge this.       I did attempt to gather the information

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   1      related to that call some months later.

   2                   Q.     What do you mean?           I don't understand that.

   3                   A.     I attempted to contact Zoom and see if

   4      they could, given a certain period of time, find out --

   5      and given a certain IP address or bank of IPs -- how I

   6      could recover that particular call.

   7                   Q.     Why?    Why did you do that?

   8                   A.     To have more concrete, tie it down to the

   9      actual number itself or access code that would give me

  10      access to that information so that I could then subpoena

  11      that information for -- access that information related

  12      to this.

  13                   Q.     And did Zoom provide any information to you

  14      that was of use?

  15                   A.     No.    But it's well-documented.

  16                   Q.     What do you mean?

  17                   A.     It's documented.          I went to someone within

  18      my company and asked that person to do this research for

  19      me.

  20                   Q.     Do you have some record of the research

  21      results?

  22                   A.     I can check.        I don't think so, but I can

  23      check.     I'm sure that there's conversations that happened

  24      related to it, yes.

  25                   Q.     All right.       If you can put that on your

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   1      list, I'd like to get that information if it's available.

   2                          All right.        So when -- did you -- did you

   3      get a sense from RD that he had been on calls like this in

   4      the past and, therefore, thought this particular call

   5      would be of interest to you?               Describe how, you know, that

   6      came about.

   7                   A.     Oh, at that point the only focus was

   8      antifa journalists.          That is the only focus I had

   9      throughout the entire thing is the things that people

  10      were saying about me.

  11                   Q.     You didn't like what was being written

  12      about you by certain members of the media at the time?

  13                   A.     I don't think it was as much being written

  14      about me as it was being written about FEC United.

  15                   Q.     Okay.     And who were the journalists that

  16      bothered you in particular?

  17                   A.     Be Sean Beedle, down in Colorado Springs.

  18      Sean Heidi Beedle.

  19                   Q.     Okay.     Anyone else?

  20                   A.     Yeah.     Eric -- I don't know how to say his

  21      last name.

  22                   Q.     Mobich [phonetic]?

  23                   A.     Mobich.      Oh, yeah, you know him, huh?

  24                   Q.     Anyone else?

  25                   A.     Yeah.     Kyle Clark.         I don't know if Kyle

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   1      Clark was before or after.              But I certainly know that

   2      he's affiliated with antifa.

   3                   Q.     So he too is an antifa journalist?

   4                   A.     I guess you could call him that.

   5                   Q.     All right.        I'm not going to call him that.

   6      I asked you the question.

   7                   A.     I mean, in my opinion I would call him

   8      that, yes, I would call him an antifa journalist.

   9                   Q.     Okay.     So I've heard the storey before, of

  10      course, that you were concerned about these journalists

  11      and what they were saying about you.                   So is it fair then

  12      to say that your -- your interest in RD was, he was going

  13      to be able to put you on a call with some of these

  14      journalists who were writing bad things about you?

  15                   A.     Yes.

  16                   Q.     Okay.     And in were any of these journalists

  17      that you mentioned actually on this Zoom call?

  18                   A.     There -- there was a couple journalists on

  19      there, but they weren't doing -- and I only take this by

  20      the friendliest comment related to the call.                   I was

  21      somewhat underwhelmed by the conversations because it was

  22      filled with rhetoric.           But it was fascinating because of

  23      the planning and the fact that they were very, very well

  24      organized on how they communicated on these calls.

  25                   Q.     All I'm asking you about right now is -- is

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   1      the identity of the people that were on the call itself.

   2                   A.      I believe if you check my notes, you will

   3      walk, through, and I started putting down information

   4      related to who I thought was on the call.

   5                   Q.      Okay.     Let's do that, then.          Let's segue

   6      into that.        We'll come back to how you got on the call in

   7      a minute.      I can't define from your notes who was on the

   8      call or who was just being discussed.

   9                           So referring to Plaintiff's Exhibit 29,

  10      your notes, who was it that you can say for a fact was on

  11      the call, journalists or otherwise, besides yourself, and

  12      as you claim, Mr. Coomer?

  13                   A.      Well, the information from that call led

  14      me to information about Heidi Beedle.                   I thought she was

  15      on that call, but then again, nobody used names on the

  16      call.    No one used names.            The only one that popped up

  17      was the Bev that popped up.               And I wrote that down as it

  18      came up.

  19                   Q.      Okay.     You've said, I think in the past,

  20      that you thought there were about 15 to 20 people on the

  21      call while you were on the call; is that right?

  22                   A.      Yes.

  23                   Q.      Okay.     Why can't -- I'm sorry.          Go ahead.

  24                   A.      Go ahead.

  25                   Q.      So why can you not positively identify

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   1      Heidi Beedle being on the call, or can you?

   2                   A.      I cannot because no one had names to

   3      verify that.        So the only names that came up during this

   4      are the names that I wrote down.

   5                   Q.      Well, you wrote down Heidi.        Did you write

   6      Ron at one point?

   7                   A.      I suspected that that was the person that

   8      was beginning to speak at the beginning of the call.

   9                   Q.      What do you -- what do you recall her

  10      saying?

  11                   A.      The -- that particular person was talking

  12      about the Colorado Springs Independent, which is why I

  13      thought that was Heidi because it sounded like Heidi, but

  14      I wasn't sure.        So the more that that person talked, the

  15      more I wrote down information related to that person to

  16      hone in on that particular conversation.

  17                   Q.      Okay.     Did you ever learn subsequent to

  18      this call whether it was Heidi, in fact, that was on the

  19      call?

  20                   A.      You mean did I definitively say that that

  21      was him?

  22                   Q.      Yes.

  23                   A.      I don't think that -- I think I was able

  24      to validate that he was an antifa journalist, yes.

  25                   Q.      I'm just asking -- you did research after

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   1      this call on Dr. Coomer.             Did you research -- do any

   2      research to try to authenticate whether Heidi was on the

   3      call or not?

   4                   A.      I authenticated Beedle as being an antifa

   5      journalist based on this conversation and this call, yes.

   6                   Q.      Okay.     That's a different answer to the

   7      question I asked.        Did you do any research --

   8                   A.      I did -- I did do research on Mr. Beedle,

   9      yes.

  10                   Q.      Okay.     As you sit here today, what level of

  11      certainty do you have as to whether she was on the call or

  12      not?

  13                   A.      I don't.       I don't have a level of

  14      certainty.        I have a level of certainty that she is an

  15      antifa journalist.

  16                   Q.      Okay.

  17                   A.      If I had to give you a degree of

  18      certainty, that degree of certainty would probably be in

  19      the 70 to 80 percent range.

  20                   Q.      I don't know the pronoun of this person.

  21      He or she was on the call, you would say you're 70 to

  22      80 percent certain of that?

  23                   A.      I'm taking a wild guess.

  24                   Q.      That's your best -- best estimate based on

  25      your perception in what you've learned about Ms. Beedle;

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   1      is that fair?

   2                   A.      I would say that Mr. Beedle is a pretty

   3      disgusting human being, and I learned a lot about

   4      Mr. Beedle.

   5                   Q.      That's not responsive.             I was saying that's

   6      your best estimate based on participating in this call and

   7      what you subsequently learned, you're about 70 to

   8      80 percent sure that Heidi Beedle was on this call; is

   9      that fair?

  10                   A.      The basis for this call was to uncover

  11      antifa journalists.        During the course of this call, I

  12      uncovered an antifa journalist, a person that actively is

  13      an activist rather than a journalist that writes slanted

  14      and defamatory articles about people of the opposite

  15      political affiliation.         That is what I learned by this.

  16      I learned that this person is, in fact, an antifa

  17      journalist.

  18                   Q.      But that -- again, sir, that's not what I

  19      was asking you.        You had said -- I had asked you how

  20      certain you were that she was on this call, and you said

  21      you're about 70 to 80 percent certain that she was

  22      actually a participant.

  23                           And my question is:             Is that your

  24      testimony?        Is that a fair estimate?

  25                   A.      That's me taking a wild guess.

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   1                   Q.     All right.     From your notes, can you

   2      identify anybody else -- or actually, I'm not going to

   3      hamstring you to your notes.            But either through referring

   4      to your notes from the call or other observations, can you

   5      identify anyone else who you can testify with certainty

   6      was on the call?

   7                   A.     Eric Coomer.

   8                   Q.     We'll get to Mr. Coomer -- Dr. Coomer in a

   9      minute, but excluding him, because that's obviously in

  10      dispute.     Anybody other than, as you say, Dr. Coomer and

  11      yourself that you can identify as having been on this

  12      call?

  13                   A.     I think that they do that on purpose where

  14      they hide their identities on these calls.                    If you'll

  15      look at subsequent disclosures of antifa communication

  16      across the country, this is -- what I'm telling you right

  17      now about their communication on this particular call,

  18      and how they spread out communication across different

  19      devices and different platforms, is that they often use

  20      either names -- code names or don't use any names at all

  21      in order to -- in order to have those conversations as

  22      anonymous as possible.

  23                   Q.     That's an explanation, but it's not -- it's

  24      not an answer to what I asked you.                  I said:    Is there

  25      anyone else on this call that you can identify with

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   1      certainty by name?

   2                   A.     Eric Coomer.

   3                   Q.     A code name or -- or anything like that.                I

   4      just want to know who could authenticate, besides

   5      yourself, and as you would say, Dr. Coomer since you claim

   6      he was on the call.       But who can -- who can you

   7      authenticate that was on the call so that we could talk to

   8      them about what occurred?

   9                   A.     Well, if Eric Coomer wasn't on the call,

  10      why did he clean up all of his social media platforms?

  11      Totally wipe the internet of his name or -- or any of

  12      the --

  13                   Q.     That's not a response to my question.

  14                   A.     Let me finish.       You asked me a question,

  15      and I get to answer that question.                  Now, at the end of me

  16      answering that question, if you want to ask me or tell me

  17      that that's not answering the question --

  18                   Q.     I didn't ask you about Eric Coomer deleting

  19      anything.      I asked you, who can you identify with

  20      certainty was on the call?

  21                   A.     And I answered that question with 100

  22      percent certainty that Eric Coomer was on that call.

  23                   Q.     And I already told you we're going to deal

  24      with that in a minute.        I want to know, other than

  25      yourself, and as you claim Dr. Coomer, is there anyone

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   1      that you can say was on the call with certainty?

   2                   A.       I mean, I know for certainty that other

   3      people were on the call, yes.              But I don't know for

   4      certainty the direct identity of those people.

   5                   Q.       So you were -- it's now a year since

   6      you -- approximately, since you say this call occurred.

   7      And a year later, as you sit here, you cannot identify a

   8      single person other than Dr. Coomer, as you claim, and

   9      yourself that was on this call; is that true?

  10                   A.       I'm -- I'm fairly sure that of the other

  11      people that were on this call, that if I had -- if I had

  12      to take a guess -- and the problem with taking a guess

  13      and pinpointing those people is that I did an amazing

  14      amount of research on antifa journalists to find more

  15      information that would corroborate the fact that they

  16      were, in fact, acting as a proxy for the antifa movement.

  17                            So at the time this was not my focus.       My

  18      focus was not who necessarily is on the call.              My focus

  19      was on the people that were out there actively writing

  20      things about FEC and others that correlated with antifa

  21      and were doing so, in other words, because they were

  22      politically motivated.

  23                            So at the time, my whole thing was to

  24      un-demask antifa journalists.              I used this as a catalyst

  25      to do that.         So to my mindset when all this occurred was

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   1      strictly to get as much information as possible so that I

   2      knew that I could identify those people that were inside

   3      of our journalist environment who are really just

   4      actively antifa members that were just defaming and

   5      slandering people because they didn't agree with them on

   6      a political level.

   7                   Q.     That's an explanation, but it's not an

   8      answer to my question.

   9                   A.     Well, it actually is an answer because the

  10      answer that I gave you directly correlates to the fact

  11      that I was looking for evidence that these were actually

  12      people that were inside of the journalistic environment.

  13      I found that.       I used that information in order to go

  14      down a path to figure out who these people are.

  15                   Q.     You can't tell me another person that was

  16      on this call, can you, other than yourself, and as you

  17      claim, Dr. Coomer?

  18                   A.     I have a pretty high degree of likelihood

  19      that Mr. Beedle was on that call.

  20                   Q.     Okay.

  21                   A.     I have a high --

  22                   Q.     Understood that?

  23                   A.     -- high likelihood correlates to

  24      Mr. Beedle's massive involvement in the antifa movement,

  25      a massive involvement in our revolution, a massive

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   1      involvement in writing a Marxist manifesto herself.

   2                   Q.      Okay.     Thank you.         We're building a list.

   3                           You have certainty with respect to two

   4      individuals:        Yourself and Dr. Coomer.             You have a high

   5      level of certainty with respect to Heidi Beedle.

   6                           Is there anyone else that you can identify

   7      with either certainty or a high level of certainty that

   8      you believe was on this call?

   9                   A.      The interesting part about -- and if I can

  10      clarify the information about Beedle.                   The interesting

  11      part about Beedle is that she had been communicating on

  12      Twitter with another individual dating back to June of

  13      2020 by the name of Will Coomer, William Coomer.                   Back

  14      into June of last year, I believe, they were

  15      communicating via Twitter, William Coomer underneath,

  16      Heidi Beedle on the Twitter account.

  17                           This has continued all the way into 2021

  18      where Will Coomer, just -- I guess you could say it's a

  19      coincidence by your -- by your terms -- is still

  20      communicating with Heidi Beedle on Twitter.

  21                           So if -- if I had to just correlate those

  22      two together, that would -- we've been able to do a lot

  23      of research on William Coomer, and so I would say that

  24      there's a high likelihood based on all that information.

  25                           Again, I don't want to say 100 percent of

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   1      the -- of the time that this the smoking gun.              I think

   2      that antifa members are very careful not to have smoking

   3      guns as you'll see in this election, but -- although I do

   4      think there are some.           But I would use that as a

   5      correlation to Coomer being on the call and Beedle having

   6      a probability of being on that call.

   7                   Q.     And the Coomer you're referring to, though,

   8      in that -- in your last part of your answer is William

   9      Coomer?

  10                   A.     No.     The last part of my answer is William

  11      Coomer communicating with Heidi Beedle via Twitter, and

  12      the correlation of Eric from Dominion being on that call.

  13      And the fact that I had written down, first off, in my

  14      notes, that Heidi Beedle is this Navy, probably inside of

  15      my notes on page 1.

  16                   Q.     Okay.     You lost me with respect to the

  17      William Coomer aspect.           My question wasn't about the

  18      Twitter communications.            My question was who with a high

  19      degree of certainty or certainty can you identify as being

  20      on the call?

  21                   A.     Well, Heidi Beedle has paid a lot of

  22      attention to me over the last nine months and has gotten

  23      into --

  24                   Q.     No, sir.       I -- I'm not asking about Heidi.

  25      You've already identified her as someone.              So I'm asking

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   1      for anyone else.

   2                   A.       No.

   3                   Q.       No.     That's it?

   4                   A.       I gained more information as this

   5      progressed.         But, no --

   6                   Q.       Okay.

   7                   A.       -- on this call.

   8                   Q.       And are you saying that William Coomer has

   9      some relation to Dr. Eric Coomer?

  10                   A.       I'm not saying anything at this point.

  11                   Q.       Do you know if -- I had understood

  12      someone -- well, strike that.

  13                            Do you know whether he's related to

  14      Dr. Coomer?

  15                            MS. HALL:       Objection.

  16                   A.       I don't know.          I mean, I was told

  17      that -- that -- that there was a relation, but I'm yet to

  18      fully verify that.

  19                   Q.       (By Mr. Cain)          All right.    So --

  20                            MS. HALL:       Charlie, could we take a break?

  21                            MR. CAIN:       Yeah, that's fine.       How long

  22      have we been on the record?

  23                            THE VIDEOGRAPHER:            One hour, 19 minutes.

  24                            MR. CAIN:       Yeah, let's -- let's take a

  25      break.

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   1                          THE VIDEOGRAPHER:          Going off the record.

   2      The time is 11:23.

   3                          (Discussion off the record.)

   4                          (Recess from 11:23 a.m. to 11:42 a.m.)

   5                          THE VIDEOGRAPHER:          We're back on the

   6      record.     The time is 11:42.

   7                   Q.     (By Mr. Cain)        All right.     Mr. Oltmann, I

   8      want to kind of pick up where we left off.                But before I

   9      do that, I had a note here -- I looked at my Signal app

  10      during the break and observed that it's phone

  11      number-based.       And so if -- did you say you still have

  12      access to your Signal app and RD to where you can provide

  13      us with his phone number?

  14                   A.     No.   I did try -- I did try to recover

  15      that information through counsel.

  16                   Q.     What happened to the information?

  17                   A.     I believe my phone was replaced sometime

  18      in the middle of my security and there were a number of

  19      changes.     So if someone removed you as a contact, you

  20      don't have access to that information.                But I went

  21      through and scoured it looking for any conversations that

  22      I had during that time period, and that -- at the request

  23      of counsel.

  24                   Q.     So let me make sure I understand.              I know

  25      there were some pictures that we were provided that looked

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   1      like a phone had -- had some damage to -- done to it.                  Is

   2      that what you're referring to?                You had some damage to

   3      your phone?

   4                   A.     I was asked to provide a picture of the

   5      damaged phone.       I was asked to provide a picture for the

   6      new contract when I had the phone replaced.                I replied --

   7      I gave that information as a request, I think on your

   8      side or the Court's side, to provide that information

   9      relevant to what information I was or was not able to

  10      recover on the phone.

  11                   Q.     Okay.     And I -- and you've said many times

  12      you're a tech guy.          I'm not.       In terms of the Signal app,

  13      you have that installed on your phone currently, right?

  14                   A.     I do.

  15                   Q.     But you weren't able to recover the contact

  16      that you had for RD in order to provide us with a number

  17      that -- that you were given, the actual cell number?

  18                   A.     No.     So I don't know the technology for

  19      this specifically, but if somebody removes you, then you

  20      will not see them in your contacts.

  21                   Q.     And you don't have any other record of the

  22      cell phone number for RD?

  23                   A.     I was never contacted on a cell phone

  24      record, no.

  25                   Q.     Well, I know.          But when you -- when you

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   1      associate someone on Signal, you have to -- you get their

   2      cell number.        They have to provide that information.                     So

   3      at one point you had it.

   4                   A.      I don't believe that you're correct.                  I

   5      believe that you can use -- you do not have to use your

   6      cell phone number in order to log in to Signal.                      I don't

   7      believe that that is a requirement.

   8                   Q.      If you wanted to contact RD now, how would

   9      you go about doing so?

  10                   A.      I have been trying.                Knowing that I was

  11      going to have this information, I was trying.

  12                   Q.      Okay.     What -- what efforts have you gone

  13      to?    When you said you've been trying, what have you done

  14      specifically?

  15                   A.      I've reached out to people that have

  16      information about antifa members.                  I've reached out to

  17      people that are deep in the researching or investigations

  18      of antifa members.           I've asked if they could uncover

  19      information that would lead to them to have a

  20      conversation with this individual, or any information

  21      that I did disclose could put this person in danger.

  22                           THE REPORTER:          I'm sorry.        I'm having

  23      trouble understanding and hearing the deponent.                      Could

  24      you get closer to the phone or the computer to pick you

  25      up better?

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   1                          THE DEPONENT:          All right.     Is that better?

   2                          THE REPORTER:          Yes.

   3                          MR. CAIN:       Yes.

   4                          THE DEPONENT:          Okay.

   5                   Q.     (By Mr. Cain)          You are muffled.

   6                   A.     I'm trying to write while I'm talk- --

   7      take notes while I'm --

   8                   Q.     Okay.     So I guess to summarize, you don't

   9      have access to any information right now that

  10      would -- that would put us or anyone in touch with RD,

  11      true?

  12                   A.     True.

  13                   Q.     You've identified for us some members that

  14      were on the call.          We've already discussed that.            You have

  15      said that the purpose for being on this call was to

  16      uncover antifa journalists, fair?                  Is that a fair

  17      statement?

  18                   A.     Yes.

  19                   Q.     All right.        And as a result of the call,

  20      you uncovered Heidi Beedle as an antifa journalist, right?

  21                   A.     I did not 100 percent confirm that, but

  22      that was my -- in my notes.              That was my -- that was my

  23      recollection.       That was my opinion of who was on the

  24      call, yes.

  25                   Q.     All right.        And you mentioned two others,

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   1      Eric Mobich and Kyle Clark.              Were either of those

   2      individuals on the call, if you know?

   3                   A.     No.     They talked about them as being

   4      friendlies.

   5                   Q.     Okay.

   6                   A.     They didn't actually talk about Kyle

   7      Clark.     They talked about another individual related to

   8      that --

   9                          THE REPORTER:          I'm sorry, sir.       I can't

  10      understand you still.           Can you get closer -- I don't

  11      know.     Can we go off the record a minute?

  12                          MR. CAIN:       Sure.

  13                          THE VIDEOGRAPHER:            Going off the record.

  14      The time is 11:47.

  15                          (Discussion off the record.)

  16                          (Recess from 11:47 a.m. to 11:50 a.m.)

  17                          THE VIDEOGRAPHER:            We're back on the

  18      record.     The time is 11:50.

  19                   Q.     (By Mr. Cain)          Okay.       This RD, was this --

  20      the call -- the antifa call that we've been discussing,

  21      was that the first antifa call that he arranged for you to

  22      be on?

  23                   A.     Yeah.     No.     Well, actually, yes, yes.

  24                   Q.     Because you've indicated in the past that

  25      you've -- you were on more than one.                    You infiltrated more

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   1      than one call, right?

   2                   A.     Well, I said that I've infiltrated other

   3      communications, yes.

   4                   Q.     Okay.     What do you mean by that?

   5                   A.     I mean, I've been involved in -- and I

   6      didn't say that I had, but we had.                     We had infiltrated

   7      other things, other meetings, other communication, other

   8      protests.

   9                   Q.     Okay.     And you're using the royal "we."

  10      Who are you referring to when you say "we had"?

  11                   A.     Other people that were involved in or

  12      associated with FEC or knew ADF.

  13                   Q.     Okay.     Can you -- is there a point person

  14      or a core group of people that you can identify that were

  15      involved in this?       By name.

  16                   A.     I don't understand.                So there's lots of

  17      research being done on antifa.

  18                   Q.     Okay.     All right.         Well, let me backtrack a

  19      second.

  20                          Other than the call that we've described

  21      where you -- obviously you didn't identify yourself on

  22      this Zoom call in question, right?

  23                   A.     I did not.

  24                   Q.     My question earlier was geared towards

  25      that, other calls that you were able to get on through a

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   1      conduit such as RD.           Was this the only one?

   2                   A.      No.     The only call that I was on related

   3      to this was this call.            The previous time that I had a

   4      scheduling conflict, I could not get on the previous

   5      call.    So this was the call that I could actually be on

   6      at my -- you know, at my office.

   7                   Q.      Okay.     And that's -- that was the point.

   8                           So as far as this -- this scenario where

   9      someone gets you on a call that you can monitor

  10      anonymously, this is the only one that you can testify to

  11      as having been on under these circumstances?

  12                           MS. HALL:       Objection.          Relevance.

  13                   A.      I -- can you repeat the question?

  14                   Q.      (By Mr. Cain)          Yeah.       I'm just trying

  15      to -- you said in the past that you had infiltrated antifa

  16      calls.     I'm trying to find out how many other calls you

  17      were on such as this one.

  18                           MS. HALL:       Charlie -- I'm trying to -- I'm

  19      trying to figure out why this is relevant to limited

  20      discovery.        We're here for one specific call that dealt

  21      with your client, not other calls.

  22                           THE DEPONENT:          Is that an objection?

  23                           MR. CAIN:       No.     It's a speaking objection,

  24      and it's waived.

  25                           He's testified to this and provided

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   1      information on this, and I want to get an answer to my

   2      question.

   3                   Q.     (By Mr. Cain)          Are there other calls or was

   4      this --

   5                          MS. HALL:       Again, it's not relevant.

   6                          MR. CAIN:       I don't -- either make an

   7      instruction, but quit interrupting my questions, please.

   8                          MS. HALL:       I did.       I'm objecting.

   9                   Q.     (By Mr. Cain)          So --

  10                          MR. CAIN:       Okay.      Make your objection and

  11      then I will ask the question.               He'll answer it unless you

  12      make an instruction.

  13                   Q.     (By Mr. Cain)          Let's just focus on RD.      Was

  14      this the only call that this particular conduit got you

  15      on?

  16                   A.     Yes.

  17                   Q.     Okay.     Were there other similar calls

  18      relating to uncovering antifa members besides the one in

  19      question that you were on?

  20                          MS. HALL:       Objection.

  21                   A.     Any type of communication or ways that

  22      antifa communicated that we were able to get on or be at,

  23      whether it be a meeting or otherwise, we did so legally.

  24                   Q.     (By Mr. Cain)          I don't -- I don't -- I'm

  25      not asking about legality at this point.                 I'm just asking:

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   1      Is there any other calls such as the one that you've been

   2      describing that you were on.               Either yes or no.    I'm not

   3      asking about whether it was legal.

   4                          MS. HALL:       Objection.

   5                   A.     That I was on?

   6                   Q.     (By Mr. Cain)          Yes, that you were on.

   7                   A.     Okay.     That I was on, no.

   8                   Q.     Okay.

   9                   A.     Personally.

  10                   Q.     Now, going back to the antifa call, I have

  11      seen various dates -- or a range of dates that this call

  12      was alleged to occur.           What specific date did this Zoom

  13      call occur?

  14                   A.     It happened between the mid and end of

  15      September.

  16                   Q.     Right.      And so my question was,

  17      specifically.       We have notes from the call that are not

  18      dated, correct?

  19                   A.     Correct.

  20                   Q.     And you've said in your affidavit that it

  21      was on or about the week of September 27th of 2020.                 And

  22      then you've said in testimony -- including just now -- mid

  23      to late.

  24                          Why can you not provide us the actual date

  25      that the call occurred?

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   1                   A.     Because it wasn't on my calendar.           And the

   2      only thing that I can do is get within a few days of the

   3      September 26th screenshot, which is when I did the

   4      information search related to Eric Dominion, Denver,

   5      Colorado.

   6                   Q.     Right.      Because we have a screenshot of you

   7      doing that on September 26th, right?

   8                   A.     Yes.

   9                   Q.     So the call obviously would have occurred

  10      prior to that, based on your prior testimony, correct?

  11                   A.     It would have, yes.

  12                   Q.     And so your best recollection, I guess,

  13      would have been that the call would have been within a few

  14      days of September 26th prior to that?

  15                   A.     That's me guessing.                Yes.

  16                   Q.     Well, that's the most likely scenario, is

  17      it not, based on your recollection?

  18                   A.     It's been a year, so I don't know.

  19                   Q.     And you -- do you keep a calendar?

  20                   A.     I do.

  21                   Q.     Is it an electronic calendar or a

  22      handwritten one, old-fashioned?

  23                   A.     Sometimes a little bit of both.

  24                   Q.     Okay.     What were you doing -- what do you

  25      remember doing on the date that this call occurred?

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   1                   A.     I don't.     I mean, I can't go back that far

   2      and give you that information.              I mean, I can check my

   3      calendar to see what I was doing on those dates, but

   4      that's as close I can get.

   5                   Q.     Well, have you tried to go back -- I mean,

   6      has anybody asked you to triangulate the actual date?                        I

   7      don't want to ask you about your lawyers.                   But has anybody

   8      asked you to do that?          Any of the other defendants, to try

   9      to get an actual date?

  10                   A.     No.   My lawyer has asked me those

  11      questions, yes, and I've gone back and done as much

  12      research as I possibly can.            There's a lot of moving

  13      parts happening at the same time.               I also ran a company

  14      at the same time I was involved in building up FEC

  15      United, and the same time that I was advocating for

  16      people's rights in this community related to faith,

  17      education, and small businesses.

  18                          THE REPORTER:        I'm sorry.        And small

  19      businesses?

  20                          THE DEPONENT:        Yes.        Yes, ma'am.    Small

  21      businesses.

  22                   Q.     (By Mr. Cain)        All right.        So as you sit

  23      here today, your testimony is it would have been -- within

  24      a few days is your best estimate that the antifa call

  25      occurred; is that fair?

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   1                          MS. HALL:       Objection.

   2                   A.     I'd rather not speculate, which is why I

   3      said from the middle to end of September.                 I know it

   4      happened before the 26th of September.

   5                   Q.     (By Mr. Cain)          And you can't -- despite

   6      efforts in looking at your calendar, you can't recreate

   7      your schedule in order to get us a specific date, true?

   8                   A.     I've attempted to.

   9                   Q.     The book that has your notes in it --

  10                   A.     Yes.

  11                   Q.     -- do you still have that book?

  12                   A.     I do.

  13                   Q.     Does it have other notes besides the notes

  14      relating to the antifa call?

  15                   A.     It does.

  16                   Q.     In other words, subsequent to these notes,

  17      are you able to look at any material that would help you

  18      nail down the date in question?

  19                   A.     No.     My schedule is pretty tight.            I'm

  20      fairly busy on a daily business.                 It's one of the key

  21      complaints that my attorneys have in me getting back to

  22      them promptly.

  23                   Q.     Okay.     Back to the Zoom call.         Was there

  24      any video associated with this particular call?

  25                   A.     We were not in a video set, no.            We

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   1      weren't video'ing the call.

   2                   Q.     Right.      I understand you weren't on video.

   3      But were other people on the call on video?

   4                   A.     No.

   5                   Q.     And the person RD, was he with you during

   6      the course of this call?

   7                   A.     For part of it.

   8                   Q.     Okay.     Explain which part he was with you.

   9      Just to get you on the call?

  10                   A.     No.     He was here for part of the call.

  11                   Q.     Okay.     So you two were there in your office

  12      and you started the call, and then he left?

  13                   A.     I think he came in and out, yes.

  14                   Q.     In and out.

  15                          Did he hear -- was he there during the time

  16      that this conversation about Eric from Dominion occurred?

  17                   A.     I believe so, yes.

  18                   Q.     And since he was associated with antifa, as

  19      you understood it before, did he identify for you anyone

  20      else that was on the call from his -- from his own

  21      knowledge?

  22                   A.     I believe he gave me some context behind

  23      this Yan guy or Yan-ni guy.

  24                   Q.     So you think he knew him?

  25                   A.     I do, yeah.

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   1                   Q.     All right.        Anything else that you can

   2      recall?

   3                   A.     Not that I can recall.

   4                   Q.     There's other names on your notes that we

   5      didn't discuss on the first page, on Bates 205.                  I think

   6      we've -- we've discussed everybody but Joey Camp.

   7                          Joey Camp was not on this call, I take it,

   8      right?

   9                   A.     I do not believe so.

  10                   Q.     Was part of the discussion on this call

  11      about Joey Camp?

  12                   A.     Yes.     At that point I had never met Joey

  13      Camp, and I really didn't know who he was.

  14                   Q.     Okay.     Can you -- is it fair to say that

  15      Mr. Camp was one of the -- one of the primary topics of

  16      this call?

  17                   A.     No.

  18                   Q.     All right.        And how much time was spent

  19      discussing Joey Camp while you were on the call?

  20                   A.     A few minutes probably.

  21                   Q.     Do you remember what was said about him?

  22                   A.     Yeah, that he's a rat.             They had a lot of

  23      choice things to say about him.

  24                   Q.     Okay.     A rat meaning -- meaning what?          What

  25      did you understand that to be referring to?

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   1                   A.     They were not talking about him in

   2      endearing terms.

   3                   Q.     And then you also have listed -- I don't

   4      think we got to them -- you put rat in your notes, I do

   5      believe.

   6                   A.     Yeah.

   7                   Q.     Help contact this Joey.            So is that your

   8      note to yourself to say you need to get in touch with him

   9      as a result of what was said about him?

  10                   A.     Yes.

  11                   Q.     I mean, the idea of being an enemy of

  12      antifa as a potential friend or alley for you?

  13                   A.     It was just another point of data.

  14                   Q.     Then you say under that note about Joey,

  15      Tay, hyphen, question mark.              This guy is antifa, two

  16      question marks.

  17                          What is the -- why did you write that down?

  18                   A.     They were talking about Tay Anderson.              And

  19      that -- it came up because of connection between the -- I

  20      think it was PSL and antifa.               I think that that's the

  21      socialist movement on DSL.              I think it's DSL.

  22                   Q.     Okay.     Well, what was the discussion about

  23      Mr. Anderson?

  24                   A.     Mr. Anderson was, I guess, involved in

  25      organizing protests and was standing up.                 And I don't

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   1      remember the context behind it.                It was just the context

   2      of them bringing in someone that is a school board member

   3      into the conversation.

   4                   Q.       Did RD tell you who actually organized this

   5      Zoom call?

   6                   A.       No.

   7                   Q.       And you don't know?

   8                   A.       No, no.    But nobody questioned -- well, it

   9      doesn't matter.

  10                   Q.       Nobody questioned what?

  11                   A.       Nobody questioned him being on the call.

  12                   Q.       Oh, RD.    Okay.

  13                            Do you know whether Tay Anderson was a part

  14      of this call at any point?

  15                   A.       I can't say for certain, no.

  16                   Q.       Were you on the call when it began?

  17                   A.       No.

  18                   Q.       Were you on the call when it ended?

  19                   A.       No.

  20                   Q.       So you don't know how long the call was in

  21      total?

  22                   A.       I can speculate.         But, no, I don't.

  23                   Q.       How -- approximately how long were you on?

  24                   A.       40 minutes, I believe is what I recall,

  25      45 minutes.         Maybe a little less, a little more.

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   1                   Q.     You -- you say in your notes, quote, Four

   2      to five, close quote, training.

   3                   A.     What page are you on?

   4                   Q.     And then -- I'm sorry?

   5                   A.     What page is that on?              I'm sorry.

   6                   Q.     Bates 208 at the top.              I've actually

   7      bookmarked that for a second.

   8                          These notes are not in order, are they?

   9      Like in the order you wrote them.

  10                   A.     Based on what I'm looking at, no, they're

  11      not.

  12                   Q.     Okay.     In fact, what is the first page of

  13      the note?      Antif- -- is it -- is it 206 where you say

  14      antifa call - RD?

  15                   A.     Yes.

  16                   Q.     Okay.     So 206 is page 1?

  17                   A.     Yes.

  18                   Q.     What is page 2?

  19                   A.     Page 2 is "fortify training."

  20                   Q.     So that's --

  21                   A.     The next one is 208.

  22                   Q.     208 is page 2.

  23                   A.     Then page 3 is, Contact this Joey.                 And

  24      then page 4 is, Who is.

  25                   Q.     Okay.     So then when you got on your first

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   1      note was, Who is this woman?               That's referring to Heidi

   2      Beedle.     When you got off, your last note was Jojo, Joey

   3      Camp, media, question mark.              Hit this guy.

   4                          Is that a reference to contacting him?

   5                   A.     No.     I think it was a reference to them

   6      wanting to go after this guy.

   7                   Q.     Okay.

   8                   A.     Somebody referred to him as Jojo and

   9      somebody referred to him as Joey Camp.                 And at that

  10      point, I didn't know who Joey Camp was.

  11                   Q.     But you do now?

  12                   A.     I do.

  13                   Q.     Actually, while I'm thinking about it,

  14      let's -- I just received this -- I'm going to see if I can

  15      share my screen with you because this is not -- it's

  16      probably something that you have in front of you.

  17                          This is Plaintiff's Exhibit 131.            This was

  18      posted, I think yesterday, on GAB by Joey Camp.                 And it's

  19      a two-page document.

  20                          Did you see this posting, Mr. Oltmann?

  21                          MS. HALL:       Charlie, we don't see anything

  22      on the screen.

  23                          THE DEPONENT:          I see nothing on the

  24      screen.

  25                          MR. CAIN:       Well, let's see.

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   1                            MR. BURNS:        For what it's worth, Charlie,

   2      I was able to see it.

   3                            THE REPORTER:           Who just said that?

   4                            MR. BURNS:        John Burns.

   5                            THE DEPONENT:           I think you've made me the

   6      spotlight, so everyone else can see it, but I can't see

   7      it.    So hold on a second.             No.     Well, I can't see it.

   8                            MR. CAIN:       Let's do this.         I don't want to

   9      waste time on this.            Let's go off the record for a

  10      minute.

  11                            THE VIDEOGRAPHER:            Going off the record.

  12      The time is 12:09.

  13                            (Recess from 12:09 p.m. to 12:17 p.m.)

  14                            THE VIDEOGRAPHER:            Okay.    We're back on

  15      the record.         The time is 12:17.

  16                   Q.       (By Mr. Cain)           All right.     Mr. Oltmann,

  17      before the technical issues, we were talking about Joey

  18      Camp that is referenced in your notes.                     And then I had

  19      marked Exhibit 131, tried to share my screen, and

  20      that -- I understand you have it actually in front of you;

  21      is that true?

  22                   A.       I do.

  23                            MR. CAIN:       And for the record, Exhibit 131

  24      was posted on GAB.            It hasn't been produced by any

  25      parties.     We were made aware of it last night.                  And it

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   1      purports to be a posting from Joey Camp at Joey Camp

   2      2020.

   3                   Q.      (By Mr. Cain)        Do you recognize -- well,

   4      let me ask it a little different way.                 Do you follow

   5      Mr. Camp on GAB?

   6                   A.      No.

   7                   Q.      Have you ever seen this posting before now?

   8                   A.      I have not.

   9                   Q.      Are you in communication with Mr. Camp?

  10                   A.      From time to time, yes.

  11                   Q.      All right.      Well, this may be helpful or it

  12      may not be since you hadn't seen it, but he makes some

  13      statements that I wanted to ask you about.

  14                           At the beginning of this document, he says,

  15      When my team preserved material from Eric Coomer, we did

  16      so because of his connection to antifa, not because of his

  17      connection to Dominion, which we didn't even know existed

  18      before --

  19                           Do you know what he's referring to --

  20                           MS. HALL:     Objection.

  21                   Q.      (By Mr. Cain)        -- with that comment?

  22                           MS. HALL:     I apologize, Charlie.

  23      Objection.        Calls for speculation.

  24                   A.      No.

  25                   Q.      (By Mr. Cain)        In other words, have you

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   1      received material regarding Eric Coomer from Mr. Camp or

   2      his team?

   3                   A.     I don't believe so, no.            I have gotten

   4      emails from Joey, but that's about it.

   5                   Q.     Do any of those relate to Dr. Coomer?

   6                   A.     I do not believe so.            If they did, they

   7      would be in the discovery request.

   8                   Q.     Then on the bottom of -- well, actually,

   9      let me ask you one other thing.

  10                          In this posting, in the middle of the

  11      posting, there's a paragraph that says, During the phone

  12      call with Eric Coomer on the line with other known members

  13      of antifa nationwide, one of the antifa members spoke

  14      about finding and killing me.            That was end of last year.

  15                          Now, as far as you know, Mr. Camp was not

  16      on the call that you have been describing, right?

  17                   A.     Not -- not that I'm --

  18                          MS. HALL:    Objection.          He can only answer

  19      this question if it doesn't deal with attorney-client

  20      privilege.

  21                   Q.     (By Mr. Cain)       Yeah, I'm not asking if your

  22      lawyers told you anything about this.                 It's just

  23      like -- my question was:         As far as you know, Mr. Camp was

  24      not on this call, correct?

  25                   A.     Correct.

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   1                   Q.     Have you spoken to Mr. Camp about what

   2      occurred on this call?

   3                   A.     No.

   4                   Q.     So you don't have any idea where he's

   5      getting this particular information from; is that fair?

   6                          MS. HALL:       Objection.         He can only answer

   7      that question if it does not relate to attorney-client

   8      privilege.

   9                   Q.     (By Mr. Cain)          And that's fine.      If this --

  10                   A.     On this --

  11                   Q.     No, no, I don't -- not -- not if it's just

  12      repeating something your lawyer said.                   I'm interested in

  13      your testimony, not theirs.

  14                   A.     Okay.     Can you repeat the question?

  15                   Q.     Probably not.

  16                          MR. CAIN:       Laurel?

  17                          (The last question was read.)

  18                   A.     Correct.

  19                   Q.     (By Mr. Cain)          And was Mr. Camp or

  20      anyone -- any team members, as he calls them -- did they

  21      provide you with Dr. Coomer's Facebook pages?

  22                   A.     No.

  23                   Q.     The screenshot of the pages?

  24                   A.     No.

  25                   Q.     Because you -- let me actually back up for

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   1      a second.

   2                          You provided -- I think it was counsel for

   3      Sidney Powell and Defending the Republic, you provided

   4      them with sworn testimony on or about August 18, I

   5      believe, of this year, correct?

   6                   A.     Yes.

   7                   Q.     And part of -- and that's testimony that,

   8      as you sit here today, you were under oath, you swore that

   9      it was true, and that testimony is true and accurate,

  10      correct?

  11                   A.     Correct.

  12                   Q.     I don't want -- I don't want to repeat or

  13      reinvent anything from it.

  14                          But one of the things that you refer to is

  15      getting screenshots of Dr. Coomer's Facebook pages.              And

  16      as I appreciate your testimony, those screenshots did not

  17      come from Joey Camp; is that fair?

  18                   A.     That is fair.

  19                   Q.     All right.        So who did -- who did you get

  20      the screenshots of the Facebook pages from?

  21                   A.     I got those screenshots from someone who

  22      had access to that legally.

  23                   Q.     Yeah.     And you've said that.

  24                   A.     Can we take a quick break?         I need to use

  25      the restroom.       I just drank a bunch of water.

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   1                   Q.      Well, let me -- let me ask you a follow-up,

   2      then we can take the break, it relates to the question

   3      that I just asked you.

   4                   A.      All right.     I'll answer it.

   5                   Q.      The -- the question was whose -- who gave

   6      you -- this is along the lines of the other question about

   7      the conduit, RD -- who is the person who gave you access

   8      to the Facebook pages by giving you screenshots?

   9                   A.      Someone that had legally -- legal access

  10      to those screenshots.

  11                   Q.      I'm asking you for the name.

  12                   A.      I won't give you the name.       I will not

  13      answer that question.

  14                   Q.      You've been ordered by the Court to answer

  15      that question.

  16                   A.      I understand.       I also understand the

  17      consequences that come from not answering that question.

  18                   Q.      What's the basis for refusing to answer the

  19      question?

  20                   A.      Eric Coomer's lack of control, and his

  21      ability to and desire to hurt those that speak out

  22      against him.

  23                   Q.      How has --

  24                   A.      There's -- let me -- let me actually

  25      finish that.        There's also another problem in that that

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   1      person is not protected under any protection order.                   And

   2      at the point that he would be protected under a

   3      protection order, I would seek that that protection order

   4      also prohibit Eric Coomer from having access to that

   5      information as well.

   6                   Q.       In the hearing, we stipulated that the

   7      protective order would be covered by the Facebook conduit

   8      as well.     So they are protected, and that's our position

   9      and stipulation.         So --

  10                   A.       It is my position that that has not been

  11      stipulated.         It is also my position that having Eric

  12      Coomer have access to this individual would be a danger

  13      to this person, given Eric Coomer's history with antifa.

  14                   Q.       Sir, you're -- I just want to make sure

  15      that you understand what you're doing.                The Court has

  16      ordered you to provide that information to us.                And -- and

  17      you are aware that there's an order in place to that

  18      effect, right?

  19                   A.       I also understand that on --

  20                   Q.       But just answer that question first.            Can

  21      you answer that?

  22                   A.       I'm answering that question for you right

  23      now.    On December 8th, Mr. Coomer said specifically that

  24      those posts were fabricated.              He furthermore said that he

  25      had no -- never had any sort of desire to push out

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   1      anything that would be politically motivated or biased.

   2      That was, I think, paragraph 3.

   3                          So as far as Mr. Coomer is concerned, I

   4      fabricated those.       Now, you want me to come forward with

   5      the person that gave me access to that information.                 Even

   6      given the history of Mr. Coomer even as -- as recently as

   7      a couple months ago where he got in a bar fight.

   8                          So, I mean, you want me to give you

   9      information related to this individual to a person who

  10      has a history of flying off the -- off the handle, and I

  11      don't think that that is appropriate.               So given that, I

  12      understand the consequences.            I understand we'll go back

  13      in front of the Court.          I will not divulge that

  14      information unless I feel that that person is safeguarded

  15      against Mr. Coomer specifically.

  16                          MS. HALL:     Charlie, and I'm going to at

  17      this point say we need to take a break and go off the

  18      record.

  19                          MR. CAIN:     I'm not agreeing to it.       I

  20      mean, you can do what you want, but I want to get to the

  21      bottom of this.

  22                          MS. HALL:     And I understand -- there's no

  23      question posed, and he asked for a break about four

  24      questions ago.       So I'm asking for a break.

  25                   A.     Just a quick break just to use the

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   1      restroom, and I'll be right back.

   2                   Q.      (By Mr. Cain)       You're going to do it no

   3      matter what.        I'm just saying I'm in the middle of a

   4      topic, and so I'm not -- it's not an agreed-upon break.

   5                           MS. HALL:    Okay.      Break.      We'll come back

   6      in a few minutes.        Thank you.

   7                           THE DEPONENT:       I'm just going to use the

   8      restroom.      I'll be right back.

   9                           THE VIDEOGRAPHER:         Going off the record.

  10      The time is 12:26 p.m.

  11                           (Recess from 12:26 p.m. to 12:34 p.m.)

  12                           THE VIDEOGRAPHER:         We're back on the

  13      record.     This is the beginning of Media Number 2.               The

  14      time is 12:34.

  15                   Q.      (By Mr. Cain)       Okay.       Mr. Oltmann, before

  16      the break, I was asking you about the access to the

  17      Facebook pages.        It wasn't an agreed break.            I don't want

  18      to know if you -- the substance of your conversations, but

  19      did you confer with counsel during the last break?

  20                           MS. HALL:    Objection.

  21                   A.      I didn't, no.       I went to the bathroom like

  22      I told you I was going to.

  23                   Q.      (By Mr. Cain)       So you didn't confer with

  24      counsel?

  25                   A.      I did not.

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   1                   Q.      Having had time to visit the restroom, I'm

   2      going to give you one more shot.                  Are you going to respond

   3      to my question as to who the person was that gave you

   4      access to Dr. Coomer's Facebook pages?

   5                   A.      No.     Put it in the protective order, and I

   6      feel that that person is protected, then I may be

   7      compelled to release that information.                     But given, again,

   8      the irrational nature of Mr. Coomer, I'm not -- I'm not

   9      prepared to do that right now.

  10                   Q.      All right.        Well, I'll bite on -- and I

  11      don't agree with you, I do believe it's protected.                     We've

  12      already stipulated that it's protected and it's been

  13      ordered.     So --

  14                   A.      That doesn't stop -- that doesn't stop

  15      Eric Coomer from being on this call right now and for him

  16      getting access to that information.

  17                   Q.      Right.

  18                           And you're speculating, though, as to what

  19      anyone would do with that information.

  20                   A.      I'm not speculating.               I'm using -- I'm

  21      using the habits and behavior of Mr. Coomer himself in

  22      order to dictate what I think he will do in the future.

  23                   Q.      Okay.     I'm going to burn a minute on this

  24      because we're going to have to address this with the

  25      Court.

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   1                            You said because of Dr. Coomer's lack of

   2      control, you mentioned a bar fight.                   What specifically are

   3      you saying presents a danger to the Facebook page person

   4      by Dr. Coomer?

   5                   A.       His -- his own writings that date back all

   6      the way back to 1996.          His involvement with the

   7      skinheads.        His previous addiction to heroin.             His

   8      multiple arrests for DUI.            His inability to control

   9      himself, comments and things that he's done in the past.

  10                            I mean, he's just a wrecking ball.

  11      Writing stuff publicly about how he abused his wife at

  12      the time.      I didn't write these things, he did.               And

  13      those aren't the writings of someone who is a sane

  14      individual.         So I used his own writings and the things

  15      that he wrote in order to come to a conclusion on what

  16      he's likely to do to someone else based on his

  17      recklessness with his own life.

  18                   Q.       This -- this individual, as you understand

  19      it -- but you also mentioned a bar fight.                   What does that

  20      have to do with this?

  21                   A.       I mean, you have a bar fight in the middle

  22      of all of this.         I mean, I don't know.            I -- I don't --

  23                   Q.       Who told you he had a bar fight?

  24                   A.       Someone in the -- someone in the Salida

  25      area.

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   1                   Q.     You mentioned, I think in the past, maybe

   2      it was on one of your shows, that Dr. Coomer you said

   3      assaulted two individuals.              Is that -- is that what you're

   4      referring to?

   5                   A.     That is the information that was provided

   6      to me, yes.

   7                   Q.     Okay.     So do you know whether or not

   8      Dr. Coomer was charged with assault in this alleged bar

   9      fight?

  10                   A.     I do not believe he was.

  11                   Q.     Right.

  12                          And, in fact, do you know whether the other

  13      individuals involved in this incident were charged

  14      criminally?

  15                   A.     I do not know that as well.

  16                   Q.     You don't have any firsthand knowledge of

  17      anything related to a bar fight in Salida, do you?

  18                   A.     I hired a private investigator through

  19      counsel.

  20                   Q.     Right.

  21                          Is Dr. Coomer under surveillance right now?

  22                          MS. HALL:       Objection.

  23                   A.     No.

  24                   Q.     (By Mr. Cain)          Has he been in the past?

  25                          MS. HALL:       Objection.

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   1                   A.      I don't know what my attorneys have done

   2      in order to garner information about Mr. Coomer.

   3                   Q.      (By Mr. Cain)          I'm not asking you about

   4      your attorneys.        I'm talking specifically about whether

   5      you have him under surveillance.

   6                   A.      I personally do not have him under

   7      surveillance, no.

   8                   Q.      Have you ever sent someone to Dr. Coomer's

   9      house to surveil him?

  10                   A.      No.     Somebody volunteered to go by his

  11      home to see if he was there because I was asked by

  12      someone else if I'd seen Eric Coomer.                      Lots of people

  13      reached out to me all over, giving me information about

  14      Mr. Coomer.

  15                   Q.      Can you see my screen?

  16                   A.      I cannot.       You have to hit the share

  17      screen button at the bottom.

  18                   Q.      I'm screen sharing.                In the exhibits, it's

  19      Exhibit 104.        You can't see it, I guess, because of your

  20      setup, but it's on the screen.

  21                   A.      Hold on.       Let me go to Exhibit 104.

  22                   Q.      It was produced by Mr. Hoft.

  23                   A.      Okay.

  24                   Q.      It comes from the phone number

  25      303-667-5105.        Is that your phone number?

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   1                   A.     It is.

   2                   Q.     Is that your text to him, I sent someone to

   3      his house and no sign of him?

   4                   A.     I don't have that text in any of my texts.

   5      And I don't understand the context of this.

   6                   Q.     I asked you, Have you sent people to his

   7      house to surveil him?           You said, No, that you had

   8      volunteers.

   9                          Did you send this text and did you send

  10      someone to Dr. Coomer's house in November of 2020?

  11                   A.     I did not send someone to his house.              I

  12      sent someone to see if he was there.                   Because they called

  13      me and said, I'm here.           I can check and see if he's at

  14      his house.

  15                   Q.     Okay.     Who did you send to his house?

  16                   A.     It was a guy that lives in Salida that

  17      reached out to me via Signal and said I live in Salida.

  18      There's a lot of really bad people that live here.                   Those

  19      are his exact words.          How can I help?

  20                   Q.     Okay.     And my question is:           Just like all

  21      these other questions that you're not answering, who is

  22      this person?

  23                   A.     I've answered every single one of your

  24      questions.

  25                   Q.     Who is the individual that you sent to

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   1      Dr. Coomer's house?        What's his name or her?

   2                          MS. HALL:     Objection.

   3                   Q.     (By Mr. Cain)        Who?

   4                   A.     His name is Dave.

   5                   Q.     Last name?

   6                   A.     I actually don't have his last name.

   7                   Q.     Oh.   Convenient.

   8                          MS. HALL:     Charlie, we don't need the side

   9      comments.

  10                   Q.     (By Mr. Cain)        All right.    Dave in Salida,

  11      you sent to Dr. Coomer's house in November, or at least he

  12      volunteered to do it, right?

  13                   A.     He actually said that he would go by

  14      there.

  15                   Q.     Is this the same person who provided you

  16      information about some so-called bar fight?

  17                   A.     No.   It was a private investigator that

  18      got that information.

  19                   Q.     So did you send this text or not on

  20      Exhibit 104?

  21                   A.     I'd have to see the text in order to see

  22      that, if I did or didn't.

  23                   Q.     The text is Exhibit 104, sir.          It's in the

  24      Exhibit Share.       It's a one-liner.          It has your phone

  25      number on it, you testified to, and is says, I sent

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   1      someone to his house and no sign of him.

   2                          MS. HALL:    Charlie, you have cherry-picked

   3      one sentence.       This thread shows that there's 14 text

   4      messages.

   5                   A.     Where are the rest?

   6                   Q.     (By Mr. Cain)       I'm not going to ask about

   7      the rest.      I have limited time.         I want to know the answer

   8      to my question.       Did you send this text or not?

   9                   A.     Well, I can't see the context of this

  10      text.    I don't have this text in my possession, because

  11      when my phone was replaced, that did not go with it.                 So

  12      if you can show me the rest of the text, I can tell you

  13      whether or not I sent it in the context of --

  14                   Q.     This is what I have.            You can go back and I

  15      guess talk to Mr. Hoft and review the records with your

  16      counsel.

  17                          My question is:        Did you send the text?         As

  18      you sit here, do you know or not?

  19                   A.     I don't know.       I mean, I'll assume that I

  20      did if it came from Mr. Hoft, but I don't know.                 I don't

  21      have this text in my possession.

  22                   Q.     You talked about Dr. Coomer lacking control

  23      and that's why you're not telling me the Facebook conduit.

  24                          I'm going to show you what's been marked

  25      previously as Exhibit 46.          This is a Parlor post.         You --

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   1      I'm sharing my screen, but you can't see it, so I guess

   2      this is for the benefit of everyone else.

   3                          Do you have that up?

   4                   A.     Yeah.     What day was this?

   5                   Q.     Does it matter?

   6                   A.     Yeah.

   7                   Q.     I don't know.          You sent it, didn't you?

   8                   A.     I did not send that.               That was what's

   9      called an echo.

  10                   Q.     Okay.     Tell me what that is.

  11                   A.     An echo is where you share somebody else's

  12      post, and you can add your own thing to it.

  13                   Q.     Okay.

  14                   A.     But I do --

  15                   Q.     I'm sorry.        Go ahead.

  16                   A.     I do believe that when your family gets

  17      threatened, when you have to surround your bed with metal

  18      plates because you're afraid someone is going to come

  19      kill your family, and you have to higher personal

  20      security detail when people send you powder in the mail,

  21      when people come to your house with a gun, those are all

  22      things -- by the way, I didn't attack Dominion.                    I went

  23      after the credibility of Eric Coomer and his connection

  24      to the election fraud based on his own words.                    Right?

  25                          So that happened within a couple of days

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   1      of -- of me actually coming out that Monday.                 So I

   2      didn't -- you don't cut the tongue out of the person

   3      that's lying.       You cut the tongue out of the person who's

   4      telling the truth.

   5                          When you get attacked with such -- with

   6      such vitriol, you have a tendency to get really pissed

   7      off, especially when your kids and your wife are in

   8      danger.     So, yeah, emotions fly high.

   9                          So I don't know when this was written.              My

  10      guess is that the top section was written

  11      somewhere -- somewhere after or before he put up a post

  12      related to the fact that those posts were manufactured.

  13                   Q.     Okay.     You don't remember the con- -- the

  14      circumstances that caused to you put this post up?

  15                   A.     I'm sure it was anger.

  16                   Q.     Okay.

  17                   A.     I'm sure it was written out of anger.

  18                   Q.     You're not denying that this is your post,

  19      are you?

  20                   A.     Well, I don't -- I don't know because I

  21      don't have that post anywhere in any of the posts that I

  22      have on Parlor.       It does not exist.

  23                   Q.     Okay.     Well, we were able to get it from

  24      Parlor, obviously.          Are you denying that you sent --

  25                   A.     Hold on a second.            You got this from

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   1      Parlor?

   2                   Q.     Yes.

   3                   A.     You said you got this from Parlor.                You

   4      got this from Parlor.           So Parlor gave you this post?

   5                   Q.     No.     It was posted to your Parlor account.

   6                   A.     Well, I went to Parlor and asked them if I

   7      could get a record of my previous posts that did not show

   8      up, and they denied me.

   9                   Q.     Are you denying that you posted this, yes

  10      or no?

  11                   A.     I don't know if I posted it.             To me,

  12      something like that would be an echo.                  It would not

  13      be -- an echo is where you basically repost somebody

  14      else's post.

  15                   Q.     Okay.     So did you repost -- when you say,

  16      I've been busy doing 15 interviews in the last two days,

  17      are you saying someone else posted that and then you just

  18      reposted someone who had been doing 15 interviews in the

  19      last two days?

  20                   A.     No, no, no.         You don't understand how

  21      Parlor works.       So you'll repost the post, which is a

  22      picture, and then above it you just put your own -- your

  23      own stuff into it.

  24                   Q.     Okay.     So the picture was posted, and you

  25      grabbed the -- the screenshot.                This is of Dr. Coomer's

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   1       house, isn't it, in Salida?

   2                    A.     I think so.         I've never been there.

   3                    Q.     Okay.     That was your understanding, though,

   4       when you echoed that picture?

   5                    A.     Sure.     If I did it, yeah.

   6                           I've never -- I've never seen this post.

   7                    Q.     Well, you typed it, didn't you?

   8                    A.     Again, I went back in Parlor and I don't

   9       have any access to any of those records.                   It's kind of

  10       like the stuff with YouTube.               So you can tell me that I

  11       posted this, but I can't find it anywhere.

  12                    Q.     Well, do you remember doing it?              Do you

  13       remember saying, So it's up to you, blow this shit up.

  14       Share.     Put his name everywhere.              No rest for this

  15       shitbag.     Eric Coomer.        Eric Coomer.          Eric Coomer.   This

  16       shitbag and the corrupt ass hats in Dominion voting

  17       systems must not steal our election and our country.

  18       Eric, we are watching you.

  19                           You don't remember typing that?

  20                    A.     No.     But it's possible that I did type it.

  21                    Q.     You did, didn't you?

  22                    A.     I just answered your question.

  23                    Q.     And you wanted people to go to his house.

  24       That's why you reposted -- or echoed that picture?

  25                    A.     You want to restate your question?

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   1                    Q.     Yeah.     What do you mean by "blow this shit

   2       up"?

   3                    A.     I'm not even sure I wrote it.

   4                    Q.     So you're not standing by this?

   5                    A.     I can't find it anywhere at Parlor.                   You

   6       said you got it from Parlor, yet conveniently I can't go

   7       to Parlor and get any posts previously.                     Nor are you

   8       willing to give me the date that this was supposedly

   9       posted.

  10                    Q.     Did you delete this post?

  11                    A.     I did not.        I've deleted nothing.

  12                    Q.     You're under oath, sir.

  13                    A.     Unlike your client.                Unlike your client, I

  14       have deleted nothing.

  15                    Q.     Including the Facebook video that you took

  16       while you were in Grand Junction the other day that you

  17       deleted?

  18                    A.     What do you mean I deleted?                I didn't

  19       delete it.

  20                    Q.     Yeah, you did.          It was taken down.

  21                    A.     That's not true.

  22                    Q.     Who took it down?

  23                    A.     It was never taken down.

  24                    Q.     So that Facebook -- you're actually on

  25       record saying you had to delete it.

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   1                    A.       You cannot be this stupid.            Maybe you are.

   2       Maybe you don't use social media.                 But all's I have to

   3       do, and all's Eric had to do on all of those posts that

   4       he deleted was change the settings so that they were not

   5       public, and that he was the only one that could have

   6       access to them.         So that's what I did.            I preserve

   7       everything.         And you're the one that came out and said

   8       that you preserved them as well.

   9                    Q.       Oh.

  10                    A.       So you want to have a debate about your

  11       client, we can have a debate about your client.                   If you

  12       want to ask me questions related to your client and

  13       his -- and whether or not he was on that call, whether or

  14       not he was a part of election fraud, you know, we can

  15       just starting mounting up the evidence.                   I've been

  16       through all your photos and exhibits.

  17                             So if you'd like to ask me questions about

  18       those, I'm prepared to answer those.                   But this subjective

  19       stuff that you want to throw in the middle of it and ask

  20       me questions about things that either are not relevant or

  21       not true, I'm not going to sit here and stand for it.

  22       You can bully someone else.              You're not going to bully

  23       me.

  24                    Q.       Are you through?

  25                    A.       Are you?

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   1                    Q.      Nope.

   2                    A.      Then let's go.

   3                    Q.      So you said online that you took down the

   4       video the other day from Grand Junction.

   5                    A.      Yes.

   6                    Q.      Okay.     So where you're quibbling with me is

   7       deleting it versus taking them down?

   8                    A.      That's what you said.

   9                            MS. HALL:       And, Charlie, how is this

  10       relevant?      What is this have to do with your client Eric

  11       Coomer?     Does the video have something to do with your

  12       client?     Because if not, please move on.

  13                            MR. CAIN:       It's my time, Counsel.

  14                            MS. HALL:       Then we'll sit here and you can

  15       stare at my client, because the questions are not

  16       relevant.      You're going beyond the scope of limited

  17       discovery.        And you've done this with all of the

  18       defendants, and I'm not cool with it anymore.

  19                            MR. CAIN:       You've got intentional -- well,

  20       first of all, I'm not going to debate you because it's a

  21       waste of time.        He testified that my client lacked

  22       control.     I've got an intentional infliction claim.           And

  23       your client is unwilling to own up to what he posted on

  24       Parlor as Exhibit 46.

  25                    A.      No.     You're not asking me questions.     I

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   1       will answer those questions.            When you purposely lie to

   2       me, as you have to the judge and in this case, which you

   3       have done, then I'm going to correct that.

   4                           You said that I deleted those posts.              Your

   5       words, not mine.       I did not delete those posts.           I made

   6       them private.       There's a difference between making

   7       something private and preserving those things and

   8       deleting them.       I did not delete them.

   9                    Q.     (By Mr. Cain)       You took them down.      Then if

  10       that's the issue that you have, then I stand corrected.

  11                           MS. HALL:    Charlie, he did not take them

  12       down.    He just told you he made the post private.              So

  13       that means you and all of your team and all of your

  14       experts and everything that you're doing to follow my

  15       client 24 hours a day can no longer see that.             It is

  16       still on his Facebook page.           If you are friends with Joe

  17       Oltmann, you can go on his Facebook page --

  18                           THE DEPONENT:       No, you can't.   No.

  19                           MS. HALL:    -- and see it.

  20                           THE DEPONENT:       No, but I'll show it to

  21       him.

  22                    Q.     (By Mr. Cain)       All right.   I'm going to

  23       move on.     I can -- I guess what I can conclude from this

  24       is that it's possible that you posted an echo of a picture

  25       of Dr. Coomer's house and you wrote these words, but you

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   1       won't confirm that for me?

   2                    A.      There you go.         There's my video.   See,

   3       this is Facebook.          See that?       That's the video you said I

   4       took down.        It's still up on Facebook.

   5                    Q.      That's the video you said you took down.

   6                    A.      I'm sorry?

   7                    Q.      That's the video you said you took down.

   8                    A.      No.    Okay.     Anyway --

   9                    Q.      You're -- you're starting -- well, I'm not

  10       going to comment.

  11                            What we'll do is, I guess, move on to --

  12                    A.      It's a good idea.

  13                    Q.      -- to another topic.

  14                            Actually, you know what?          I'm going to take

  15       a bathroom break.

  16                            MS. HALL:      Oh, we object, Charlie.

  17                            THE DEPONENT:         No, we don't.   Stop it.

  18       Stop.    Please stop.        Charlie, take a bathroom break.           Do

  19       you want a bathroom break, seriously?

  20                            MR. CAIN:      Yeah.      We're going to go off

  21       the record because we've got limited amount of time and

  22       we've wasted a lot of it.             And I need to kind of organize

  23       what I'm going to cover with you because I suspect your

  24       lawyers are not going to agree to go past three hours

  25       today.

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   1                           THE DEPONENT:       They may not agree but, I

   2       mean, obviously, I --

   3                           MS. HALL:    Sure.

   4                           MR. CAIN:    Let's go off the record.

   5                           THE VIDEOGRAPHER:         Going off the record.

   6       The time is 12:55.

   7                           (Recess from 12:55 p.m. to 1:02 p.m.)

   8                           THE VIDEOGRAPHER:         We're back on the

   9       error.     The time is 1:02.

  10                    Q.     (By Mr. Cain)       Mr. Oltmann, since we have

  11       45 minutes, I'll probably jump around a little bit.               I

  12       like to call it the lightening round.

  13                           But before I get off on some topics, I was

  14       informed by one of our lawyers that the Parlor post was on

  15       or about December 5th, which would have been before they

  16       took the Parlor down and I think there was some loss of

  17       data.

  18                           Does that help you in terms of your

  19       recollection as to whether you posted that echo?

  20                    A.     No, because once I saw this post, which

  21       I've seen before, I went back to Parlor to try and

  22       recover some of the information on Parlor to see if I had

  23       posted that, in fact.        And I could find no record of it,

  24       not at Parlor.

  25                           But again, I guess that when the tech

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   1       giants decided that they were going to sensor half of

   2       America, they in essence deleted history and part of that

   3       is the stuff that was up on Parlor.

   4                    Q.      All right.        So did anybody else in December

   5       of 2020, did anybody else have access to your Parlor

   6       account besides yourself?

   7                    A.      I'm not sure I understand the question.

   8                    Q.      Well, someone posted this from your Parlor

   9       account.     The point of my question is:               Did someone else

  10       have access?        Could someone else have posted this?

  11                    A.      Well, I can't authenticate that post.            I

  12       mean, that post doesn't show that there's any comments.

  13       That post doesn't show that there's any -- it doesn't

  14       show anything.        It doesn't look like what Parlor looks

  15       like today, which is the reason why I went back to Parlor

  16       to ask them if this is a post that they could recover for

  17       me.

  18                    Q.      And it's your sworn testimony that you

  19       don't recall -- or you can't recall having actually made

  20       that post?

  21                    A.      No.     But I've called Eric Coomer a shitbag

  22       numerous times.

  23                    Q.      Okay.     So you stand by the content.         It's

  24       just you don't know if that's actually your post?

  25                    A.      I stand by that comment.

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   1                    Q.     All right.        So let's -- let's talk a little

   2       bit about -- we talked about the antifa call, and your

   3       conduit has been identified as RD., and that's essentially

   4       it.    We've talked about Facebook.               I want to follow-up on

   5       the Facebook question now.

   6                           You -- when you got this -- the original

   7       screenshots from Dr. Coomer's Facebook account, were you

   8       located at that elk hunt home that you had referred to in

   9       some of your prior testimony?

  10                    A.     Yes.

  11                    Q.     Okay.     So just help me a little bit about

  12       the timeline.       You had testified that you were -- you had

  13       this epiphany when you were at this elk hunt.                 This would

  14       have been November 6 of 2020; is that correct?

  15                    A.     I never had an epiphany.

  16                    Q.     Okay.     Well, I don't mean to -- whatever it

  17       was, on November 6th is when you started looking back at

  18       Dr. Coomer as a result of an article that you read; is

  19       that fair?

  20                    A.     Correct.       Correct.

  21                    Q.     And that's why you were out elk hunting, I

  22       think in New Mexico; is that right?

  23                    A.     I was not elk hunting in New Mexico.

  24                    Q.     Okay.     What were you doing?

  25                    A.     I was elk hunting.

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   1                    Q.     Okay.     Where were you?

   2                    A.     In Colorado.

   3                    Q.     All right.        And in terms of getting access

   4       to the Facebook post, how did you go about actually

   5       getting that data?

   6                    A.     Somebody gave me access to it.

   7                    Q.     Okay.     And the somebody is the person

   8       you're not going to reveal, correct?

   9                    A.     I'm not going to reveal that person

  10       because Eric Coomer is on this call, and the subject is

  11       not subject, thus, I can see to the protection order by

  12       giving you that information.

  13                    Q.     Was it -- well, I'm not going to give you

  14       too many names.       Was it Ryan McBride?

  15                    A.     I -- I am not going to disclose who the

  16       person is.

  17                    Q.     Do you know Mr. McBride?

  18                    A.     I'm not going to disclose -- yes, I do.

  19                    Q.     And you're not going to tell me whether it

  20       was him that gave you access?

  21                    A.     I'm not going to tell you -- I'm not going

  22       to tell you who gave me access.

  23                    Q.     Okay.     Was November 6th the day that you

  24       first received screenshots from the Facebook page?

  25       November 6.

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   1                    A.     Yes.

   2                    Q.     Okay.     And had you already been talking to

   3       one of Dr. Coomer's Facebook friends about getting access

   4       to his Facebook page prior to that point?

   5                    A.     No.

   6                    Q.     Did you know -- well, strike that.

   7                           Had you had access to Dr. Coomer's Facebook

   8       account prior to November 6?

   9                    A.     No.

  10                    Q.     Walk me through the steps on November 6th

  11       that you took in order to get access.

  12                           And I understand you're not going to tell

  13       me the names -- or name, but -- and I don't agree with

  14       that, obviously.          But just kind of walk me through how you

  15       were able to do that.

  16                    A.     Okay.     Repeat your -- is that a question

  17       or what --

  18                    Q.     Yes.     Walk me through how you got access to

  19       the Facebook page.

  20                    A.     Somebody sent me the Facebook post.

  21                    Q.     I get that.

  22                           You must have called someone.      Tell me --

  23       tell me how it came about.

  24                    A.     I reached out to numerous people to see

  25       who'd be willing to give me information.

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   1                    Q.      Okay.     But specifically Facebook

   2       information.        Why did you think Facebook might have

   3       information on Dr. Coomer?

   4                    A.      I didn't.       I wanted to validate the

   5       information that I had previously.

   6                    Q.      So you just started calling or reaching

   7       out, as you said, to various people to see if they could

   8       get you access to his Facebook?

   9                    A.      I started doing research on the 6th to get

  10       access to information that would have corroborated the

  11       information that I had previously going back to

  12       September.

  13                    Q.      Okay.     And then how did you -- did you find

  14       someone in your -- in your investigation who told you,

  15       Hey, I can get you access to the Facebook account?

  16                    A.      No.     I just started doing research.

  17                    Q.      Okay.     You're being evasive.    I'm trying to

  18       get --

  19                    A.      Actually, that's exactly what I did.         I

  20       started doing research.             I started doing research on

  21       social media accounts.            And was able to uncover Instagram

  22       account, Twitter account that had been previously

  23       deactivated.        A Facebook account that was not

  24       deactivated.

  25                            I started looking at pictures that were

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   1       publicly available of people that were connected to those

   2       people, and looked to see if there was a 2 degree

   3       separation of Eric Coomer and other people that I could

   4       get access to that information.

   5                    Q.     And so you found through looking at -- or

   6       doing that research, someone that you recognized as a

   7       friend of Dr. Coomer?

   8                    A.     Not right away, no.

   9                    Q.     Well, you got the information on the 6th,

  10       right?     You were able to get screenshots that day,

  11       correct?

  12                    A.     Yes.    Some of them on that day, yes.

  13                    Q.     All right.       And so how did you receive

  14       those?     How were they transmitted to you?

  15                    A.     Signal.     I believe Signal, yeah.

  16                    Q.     And same thing with -- well, were all of

  17       the Facebook pages sent to you via Signal?

  18                    A.     Again, the best I can recollect.            I don't

  19       have access to my previous phone content.

  20                    Q.     Is the person who gave you the Facebook

  21       pages still a contact on your Signal account?

  22                    A.     I haven't looked at it, but probably.

  23                    Q.     Take a look real quick.            I want to know.

  24                           THE REPORTER:         I'm sorry.     I didn't

  25       understand.

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   1                           THE DEPONENT:       I just have to keep going

   2       backwards in time.

   3                    Q.     (By Mr. Cain)       If you're not going to find

   4       it, I don't have time.        Certainly don't stall the process.

   5                    A.     You asked me to look for it.         I'm looking

   6       through every conversation that I've had.

   7                    Q.     All right.     Well, then we'll go off the

   8       record and you can do it off the record.

   9                           THE VIDEOGRAPHER:         We're going off the

  10       record.     The time is 1:12.

  11                           (Recess from 1:12 p.m. to 1:13 p.m.)

  12                           THE VIDEOGRAPHER:         Back on the record.

  13       The time is 1:13.

  14                    Q.     (By Mr. Cain)       All right.    You indicated

  15       off the record, Mr. Oltmann, that through your search

  16       function, you're not able to pull up messages from the

  17       Facebook contact; is that true?

  18                    A.     That is true.

  19                    Q.     You'd have to individually go through that.

  20       And we don't have time for that, at least today we don't.

  21                           You mentioned also that you had reached out

  22       to a number of people to do some invest- -- or in your

  23       investigation of Dr. Coomer on the 6th.              Who else did you

  24       reach out to?

  25                    A.     Publicly available people that were -- you

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   1       know, the same thing.           Just trying to figure out if

   2       somebody would give me access to that information, that

   3       would be friendly to the idea of validating who Eric

   4       Coomer is.

   5                    Q.     Okay.     And as you sit here today, are you

   6       able to -- if you know, to pull up from Signal the

   7       transmittal of the Facebook pages to you?

   8                    A.     I'm not sure I understand the question.

   9                    Q.     Well, is that -- is that transmittal data

  10       still on your Signal app, if you know?

  11                    A.     Well, if it was on my Signal app, I would

  12       have been able to find it, so, again, I believe that the

  13       Signal when I downloaded the information did not carry

  14       through -- carry over.

  15                    Q.     Did you ask that the information be sent

  16       via Signal to you?

  17                    A.     I don't -- I don't recall, no.

  18                    Q.     Is there any way as you sit here to trace

  19       the information of when and from whom you received the

  20       Facebook pages?

  21                    A.     I'm not sure I understand the question.

  22                    Q.     Well, I'm just -- if I want to show the

  23       Court, Here is evidence of when these Facebook pages were

  24       transmitted to Joe Oltmann, as I sit here, I don't have

  25       anything but your word.

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   1                           So is there any physical evidence that you

   2       can think of that would show that transmission?

   3                    A.     Yeah.     I mean, I don't know.      As I sit

   4       here right now, no, but if I'm given more time to think

   5       about it, I can probably come up with some sort of record

   6       of where it came from.

   7                    Q.     But you're certain, as I understand your

   8       testimony, that this person that gave you the screenshots

   9       was one of Dr. Coomer's friends on his Facebook page at

  10       the time?

  11                    A.     Yeah, I think still friends.

  12                    Q.     Did he or she -- is it a he or she, can you

  13       at least tell me that?

  14                    A.     No.

  15                    Q.     Did he or she explain to you why they were

  16       willing to provide you access to this information; what

  17       their motivation was?

  18                    A.     Yeah.     I don't -- I don't think they

  19       probably had a motivation other than my explanation of

  20       what I was dealing with.            I mean, look it's a pretty

  21       heavy conversation, right?              It's not something to

  22       be -- you know, to take lightly.

  23                    Q.     Did you have to convince this person the

  24       reason for --

  25                           THE DEPONENT:          Sorry.

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   1                           (Phone ringing.)

   2                    A.     Apologies.      Can you repeat that question?

   3                    Q.     (By Mr. Cain)        Yeah.

   4                           Did you have to convince this person to

   5       provide you this information?             In other words, were they

   6       reluctant to do so?

   7                    A.     No.

   8                    Q.     And again, the reason you're not giving

   9       this to me is because you think that their -- that the

  10       reveal of their identity would subject them to some form

  11       of retribution by Dr. Coomer?

  12                           MS. HALL:     Objection, Charlie.      He has

  13       told you 5 to 10 times already.              He doesn't believe it's

  14       in the protected order.

  15                           MR. CAIN:     I've already stipulated to

  16       that.    I'm --

  17                           MS. HALL:     I understand what you've said

  18       on this deposition.        There is nothing in the protective

  19       order that was previously filed with the Court that

  20       addresses what the Court just said the last time we were

  21       there.     So I get what your position is.           You've heard

  22       what my clients' is, and I guess we'll take it up with

  23       the court.

  24                           MR. CAIN:     Oh.     So let's assume for the

  25       sake of argument that -- that that needs to be buttoned

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   1       up.    I don't believe that's the case.                And I already told

   2       you that our view is that it's subject to the protective

   3       order.

   4                    Q.     (By Mr. Cain)          But assuming that

   5       information -- or that protective order was extended to

   6       this information, would you be willing to provide us with

   7       that testimony at that -- at that time?

   8                    A.     I think that I would give up more

   9       information if I knew that Eric was not going to get

  10       access to that information.

  11                    Q.     Okay.     Would you provide us with the

  12       identity of this person?

  13                    A.     If Eric did not have access --

  14                           MS. HALL:       Objection.

  15                    Q.     (By Mr. Cain)          Is that a Yes?

  16                    A.     I can't speculate.

  17                    Q.     Okay.     Let's -- let's talk a little bit

  18       about your affidavit.           We've spent almost all this

  19       deposition talking about the antifa call and some of this

  20       Facebook stuff.

  21                           The affidavit which is Plaintiff's

  22       Exhibit 2, I provided that to you previously, was signed

  23       by you -- I believe on November 13 of 2020; is that

  24       correct?

  25                    A.     Yes.     Is that -- Exhibit 2?

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   1                           MR. KIMREY:         Mr. Cain, I have a question,

   2       a point of clarification.             Shall we deem all exhibits

   3       that you are referring to within this deposition as

   4       exhibits to this deposition?

   5                           MR. CAIN:       Yes.

   6                           MR. KIMREY:         Thank you.

   7                    Q.     (By Mr. Cain)          Are you with me,

   8       Mr. Oltmann?

   9                    A.     Yes.

  10                    Q.     Okay.     So this affidavit you signed

  11       November 13, right?

  12                    A.     Yes.

  13                    Q.     And the purpose --

  14                    A.     November 13th, you said?

  15                    Q.     Yes, sir.       1-3.

  16                    A.     All right.        Perfect.         Okay.

  17                    Q.     Who asked you to sign an affidavit?

  18                    A.     I don't remember the person.

  19                    Q.     Who were they associated with?

  20                    A.     With Sidney Powell, I do believe.

  21                    Q.     You understood that this affidavit

  22       potentially was going to be used by Ms. Powell in

  23       connection with litigation?

  24                    A.     Yes.

  25                    Q.     Okay.     And you allowed this affidavit to be

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   1       filed of record in lawsuits that Ms. Powell was associated

   2       with?

   3                    A.      No.     I just filed an affidavit, and I

   4       signed it.

   5                    Q.      Okay.     But your expectation was that this

   6       could be used as evidence in a lawsuit Ms. Powell was

   7       involved with?

   8                    A.      The only expectation I had was that I was

   9       going to sign an affidavit of what I knew.

  10                    Q.      Okay.     Well, in terms of what you knew,

  11       just looking at the affidavit, I have a few questions.

  12       You go over, of course, the antifa call, right?

  13                    A.      Yep.     Yes.

  14                    Q.      On page 2.

  15                            You refer to the call as being on or about

  16       the week of September 27.              But that's not correct, right?

  17       It was prior to that week, true?

  18                    A.      I think that's why I wrote -- they put "on

  19       or about."        So I had this -- they drafted this.               I gave

  20       them information.           They drafted it.            And then I signed

  21       it.     So there's parts of this that were not complete, or

  22       that had pulled stuff out and made it so that the context

  23       could be changed.

  24                            But overall, the information is still

  25       accurate because they did put on or around, I think.

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   1       Actually, I can't -- yeah, on or about --

   2                           THE REPORTER:         I'm sorry.     Whoa, whoa,

   3       whoa.

   4                    Q.     (By Mr. Cain)         But it's more accurate --

   5                           THE REPORTER:         I just didn't get the last

   6       part of your statement, sir.              You dropped your voice.

   7                           THE DEPONENT:         I said on or about the week

   8       of September 27th.

   9                           MR. KIMREY:        And I just note for the

  10       record that Plaintiff's Exhibit 2 is Bates Powell 206

  11       through Powell 211.

  12                           THE REPORTER:         Who just spoke?

  13                           MR. KIMREY:        That was Blaine Kimrey.

  14                           THE REPORTER:         Thank you.

  15                    Q.     (By Mr. Cain)         All right.     To be more

  16       accurate, the -- the antifa call -- you say meeting here,

  17       but was prior to September 26, not during the week of

  18       September 27th, true?

  19                    A.     Well, it says on or about the week of

  20       September 27th.       So that was still on or about the week.

  21       So this had happened before the 26th.                 So, yes, then this

  22       would be factually accurate.

  23                    Q.     And this -- well, this affidavit was done

  24       less than two months after the call, right?

  25                    A.     Yes.

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   1                    Q.     And so you did your best to be as complete

   2       and accurate in this affidavit as possible, right?

   3                    A.     I -- I gave them a bunch of information.

   4       I don't think I gave them completely all the information.

   5       Just the information I felt was important to the

   6       affidavit.

   7                    Q.     Right.

   8                           And no one from the Powell camp asked you

   9       any of these questions about how did you get on the call

  10       in terms of your conduit and that sort of thing, did they?

  11                    A.     I think there's a lot of moving parts at

  12       the time, and the things that they were more concerned

  13       with was the litany of affidavits that were coming in

  14       from across the nation.         And it was getting as much of

  15       this information as possible so that they could do

  16       fact-finding and figure out what the credibility was of

  17       all that information collectively, in the middle of

  18       having SISA and other organizations within days of the

  19       election say that there's nothing to see here, this is

  20       the safest election ever, without even doing any sort of

  21       discovery into the sheer volume of fraud that was

  22       existing across our nation.

  23                           MR. CAIN:    Objection.         Nonresponsive.

  24                    Q.     (By Mr. Cain)       All I'm asking is:      No one

  25       from the Powell camp that was involved in obtaining this

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   1       affidavit asked to speak to your conduit or interview them

   2       associated with confirming your story, fair?

   3                    A.      I didn't have a credibility issue.       I

   4       didn't have an issue where you --

   5                    Q.      No, sir.       I asked you if they asked for

   6       that information.          Yes or no?

   7                    A.      No.

   8                    Q.      You say in here, and you wrote in your

   9       notes -- you use the word in your notes, "fortifying."

  10       But when you're talking about Eric speaking on this -- and

  11       this is on the middle of page 2 of the affidavit, Powell

  12       207 -- Eric continued with fortifying the groups and

  13       recruiting.

  14                            Okay.     Are you referring to Eric Coomer in

  15       that sentence?

  16                    A.      Where is this part?

  17                    Q.      It's in -- a little higher than the middle

  18       of the page on the second page of your affidavit.             You go,

  19       The conversation went like this.

  20                            And then you described the conversation

  21       about Eric being the Dominion guy, et cetera?

  22                    A.      What -- what page are you referring to?

  23                    Q.      Sir, I don't -- I've already said that

  24       twice now.        The second page of your affidavit, Powell 207

  25       is the Bates number on the bottom right.

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   1                    A.     Okay.

   2                    Q.     You're talking about the conversation on

   3       the antifa call.       At the middle of it, you say, Eric

   4       continued with fortifying the groups and recruiting.

   5                           My question was:           You're referring there,

   6       obviously, to Eric Coomer, correct?

   7                    A.     I am.

   8                    Q.     All right.        I want you to tell me what you

   9       remember Eric Coomer saying about fortifying the groups

  10       and recruiting specifically.

  11                    A.     So there's a ton of rhetoric going on on

  12       the call itself and the comments made about keeping up

  13       and fortifying their efforts.               There was a bunch of

  14       people talking all at the same time.                    So, you know, Eric

  15       was in the middle of communicating on the call, along

  16       with all these other people.

  17                           So when I talk about being excentric and

  18       boisterous, it's the -- it's the vulgarness of -- by

  19       which they all seem to communicate.                    The F word is

  20       probably every other word.

  21                    Q.     Yes, sir.       But you say and swore in this

  22       affidavit that Eric did and said certain things.                       He

  23       talked about fortifying the groups and recruiting.

  24                    A.     Right.

  25                    Q.     What specifically did he talk about in

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   1       terms of fortifying the groups and recruiting?

   2                    A.      So I just answered that question as it

   3       relates to them talking about fortifying, right?              Again,

   4       I referred back to my notes when I had -- when I was

   5       writing this stuff, and some of this information is

   6       missing other paragraphs that I would have left in it.

   7       Right.

   8                            So the fortifying and saying that, Hey, we

   9       need to keep up the pressure, those comments came out of

  10       Eric's mouth.        Those comments came out of other people's

  11       mouths.     It was -- it was a centric bit of hyperbole.

  12                    Q.      All right.     So you say, Keep up the

  13       pressure.      You're attributing words to that effect -- to

  14       Eric Coomer.        What was he referring to about keeping up

  15       the pressure?

  16                    A.      I don't know.       I would assume it's related

  17       to antifa and the things that they are doing across the

  18       state of Colorado and the country at that point.              I mean,

  19       they were terrorizing communities and burning down

  20       buildings and looting and shooting and stabbing and

  21       throwing frozen water bottles and feces.

  22                            So it probably had something to do with

  23       that.

  24                    Q.      Let me -- let me ask you.       You've done a

  25       lot of research into antifa, it's clear.             What evidence do

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   1       you have that Dr. Coomer was involved, outside of this

   2       call, as you've alleged, was involved in any

   3       activity -- antifa-related activities, whether it's March

   4       or speaking at a rally or throwing feces, as you say?

   5       What evidence do you have that he actually was part of an

   6       antifa movement?

   7                    A.     So -- well, first of all, he posted the

   8       antifa manifesto on his Facebook page on, I think,

   9       June 5th or June of 6th.

  10                    Q.     And we've talked about the Facebook.             I'm

  11       talking about --

  12                    A.     We haven't specifically talked about that

  13       particular post.

  14                    Q.     Right.      I'll exclude since we don't have

  15       time, and we know what -- we can look to in terms of

  16       Facebook.      I'm asking, based on the amount of time that

  17       you spent looking into Eric Coomer and his association

  18       with antifa, carving out any kind of Facebook --

  19                    A.     Okay.     I'll bite.         All right.   Let me walk

  20       through -- let me walk through all the information that I

  21       learned about Eric Coomer.

  22                    Q.     I'm asking a specific question.             Not --

  23                    A.     That's the specific question.             You

  24       can't -- you can't carve it out and say you don't want me

  25       to answer the question.

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   1                    Q.      Here's the question.               Here's the question.

   2       Listen to my question.

   3                    A.      Okay.

   4                    Q.      What information do you have that -- that

   5       puts Eric Coomer in an antifa event, rally, as a speaker,

   6       as a member of an association that you -- that you equate

   7       with antifa?        What specifically do you know about that?

   8                    A.      I know that I was on this call, and I know

   9       that Eric at Dominion was on that call.                     I know that I

  10       walked through and listened to other videos that had Eric

  11       Coomer on it, and it was the same voice that was on this

  12       call, who was on those other calls doing demonstrations

  13       across the country.

  14                            So I know that I did an amazing amount of

  15       due diligence to tie back the Eric who was on the antifa

  16       call to the Facebook posts, and the likelihood of that

  17       happening.        And then going even further into that and

  18       finding information related to owning the adjudication

  19       process -- or excuse me, being a patentholder for the

  20       adjudication process for the Dominion voting systems, as

  21       well as the numerous affidavits across the country, which

  22       as it came to light even after this time, tied back

  23       improprieties to Dominion, such as the fact that there is

  24       a modum inside the machine, yet the CEO of the Dominion

  25       voting system said that there was no modem inside it.

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   1                           They now have amended that and said, Oh,

   2       there is one, but it's not used and it wasn't turned on

   3       during the course of the election.

   4                    Q.     I'm asking you about motives.

   5                           Did you -- have you seen Dr. Coomer at a --

   6       at an antifa really?

   7                    A.     You asked me what information would be

   8       provided that would lead me to believe that Eric Coomer

   9       was, in fact, a part of antifa and what other information

  10       do you have that would lead me to that conclusion.          I'm

  11       trying to give that you information that led me to that

  12       conclusion, and you don't want to hear my opinions.          Not

  13       because it's not --

  14                    Q.     Sir, you're wasting time again.

  15                           Have you seen -- let me -- let me break it

  16       down for you.

  17                           Have you seen video evidence or in-person

  18       evidence of Dr. Coomer at what you would consider an

  19       antifa rally, yes or no?

  20                    A.     No.

  21                    Q.     Have you seen him speak at -- or at a

  22       movement or some event that involved antifa?

  23                    A.     Yes.

  24                    Q.     Which one?

  25                    A.     This call that I was on back in September.

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   1                    Q.     All right.     I'm talking about any kind of

   2       public event that -- that antifa was associated with.

   3       Speaker at a rally or anything like that.

   4                    A.     Well, I didn't attend antifa rallies.

   5                    Q.     Have you seen any evidence of that, videos

   6       of Dr. Coomer speaking at an antifa rally?

   7                    A.     I have not reviewed any of the antifa

   8       videos, and everyone during the summer of 2020 was

   9       wearing masks and covering their identity.                  So getting

  10       access --

  11                    Q.     So your answer is no --

  12                           THE REPORTER:       Just a moment.        One at a

  13       time.

  14                           THE DEPONENT:       Apologies.

  15                           THE REPORTER:       Still, one at a time.

  16                    Q.     (By Mr. Cain)       Go ahead.

  17                    A.     The difficulty in uncovering who was at

  18       any of these antifa rallies, even given the videos that

  19       you have there, would be very difficult because of the

  20       fact that all their faces were covered.

  21                           So, you know, can I say for -- with

  22       certainty that -- that he was at a -- at an antifa rally,

  23       the answer to that question is no.                  Can I say that he

  24       wasn't?     The answer to that question would be no, as

  25       well.

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   1                    Q.     Well, you're certain -- and you've said

   2       this previously about Heidi Beedle -- that she's part of a

   3       group called Revolution, I think; is that right?

   4                    A.     Yes.

   5                    Q.     Yeah, that's your testimony on that.

   6                           What group, if you know, is Dr. Coomer

   7       involved with that you view as an antifa-related

   8       organization?

   9                    A.     Well, most of the antifa members of the --

  10       how you say an idea and not an organization, although

  11       it's a very, very well-run organization, do not make

  12       themselves known.          They do not make themselves

  13       associated, because by that association, they would

  14       associate with murderers and rapists and people that hurt

  15       people in the community and bully them to get them to, I

  16       guess, stay in their homes.              Intimidate them.

  17                    Q.     So you can't identify a specific

  18       organization that you've been able to research and

  19       conclude that Dr. Coomer is involved with some leftist

  20       organization?

  21                    A.     Yes, I can actually.               He proclaimed

  22       himself that he was a part of the skinhead movement and

  23       in the article written in the New York Times by Susan

  24       Dominus, he admitted that he was a part of the skinheads,

  25       but it was a special group of skinheads that are against

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   1       racism.

   2                           So that is a far left organization that

   3       has strong ties to communism and Marxism, and he was

   4       by -- self-proclaimed a part of that even dating back to

   5       his time in Denver, Colorado.

   6                    Q.     Thanks.   So skinhead organization.          Is that

   7       it?

   8                    A.     I don't -- I don't know.        I haven't

   9       done -- I will say for right now, to answer your

  10       question, yes.

  11                    Q.     All right.     So when he was talking about,

  12       as you say in your affidavit, recruiting -- antifa

  13       recruiting, what specifically was Dr. Coomer saying he

  14       wanted to do to recruit new members of this group?

  15                    A.     Well, I think it was the comments that

  16       they have collectively where they were agreeing with and

  17       talking to them about keeping the pressure on and staying

  18       the course that were directly related to that

  19       recruitment.

  20                           I don't use it from recruiting from the

  21       standpoint of walk through a door, knock, knock.                Just

  22       recruitment of making sure we get more people to show up

  23       to these events.

  24                    Q.     Would you describe Dr. -- I'm sorry.           I

  25       thought you were finished.

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   1                    A.      No.

   2                    Q.      Would you describe --

   3                    A.      Go ahead.

   4                    Q.      Would you describe Dr. Coomer as being one

   5       of the leaders of the antifa group that was assembled on

   6       this call?

   7                    A.      No.     Nor did I at the time believe that he

   8       was actually -- after doing research, that he would

   9       associate himself with antifa.

  10                    Q.      You mention -- I don't want to spend a lot

  11       of time on this.

  12                            So at the end of your affidavit, the last

  13       full paragraph, you talk about you used ARIMA, A-R-I-M

  14       analysis to show trends.

  15                    A.      Yeah.

  16                    Q.      Do you remember that?

  17                    A.      Yeah.

  18                    Q.      Okay.     Do you have that analysis handy

  19       still?

  20                    A.      I have some of the information related to

  21       what I did on the -- on other analyses later, but ARIMA

  22       is -- uses -- I mean, do you know what ARIMA is.

  23                    Q.      I know what it stands for.         But I guess my

  24       question is:        If I -- you talk about it in your affidavit.

  25       If you have datasets involved with that, if you have

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   1       some -- some analysis, I'd like to see it.

   2                           Have you produced any of that information

   3       to anyone, either the defendants in this case or other

   4       experts?

   5                    A.     No, but I created a chart.      So this is the

   6       stuff that I can get into more specifically.           But I

   7       created a chart that looked at the voting probability of

   8       people voting a certain way during a time series, and

   9       then voting a certain way after that time series and the

  10       likelihood of that actually happening by using previous

  11       lags as opposed to what happened in the future.

  12                           So using a stationary point, and then

  13       creating a plotted chart to show me whether or not

  14       there's any irregularities or errors in the data that

  15       were -- that would not be probable based upon the

  16       information that was input.

  17                    Q.     So my question is that the charting that

  18       you used and the datasets -- or the charting that you

  19       created and the datasets, do you still have that

  20       information?

  21                    A.     I think so.

  22                    Q.     Did you -- and you -- but you didn't

  23       provide it to anybody outside of your own group; is that

  24       correct?

  25                    A.     So that's not necessarily true.      I brought

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   1       some of those charts to Washington, D.C. in early

   2       January.     I provided that information as it relates to

   3       Dominion voting systems and the vulnerabilities that they

   4       had in the Dominion voting systems.                     And the process of

   5       walking a through path of Dominion to the Black Box, to

   6       how they recover those votes, how it's transferred over

   7       to SCYTL, how SCYTL goes on to Edison, how Edison then

   8       translates that over to the New York Times.

   9                    Q.       Right.     And you talked about that in your

  10       August 18 testimony from -- when Sidney Powell's lawyers

  11       were asking you about this issue, right?

  12                    A.       Yes.

  13                    Q.       And you said then that you know how

  14       Dr. Coomer can flip the Election, to use your words,

  15       right?

  16                    A.       Is that what I said?

  17                    Q.       Yes.     You said you know how Dr. Coomer

  18       flipped the election.

  19                    A.       Is that what I said?

  20                    Q.       Yes.

  21                    A.       I haven't seen the transcript.

  22                             MS. HALL:      Well, Charlie, the reason he's

  23       asking you is you obviously have a copy of the

  24       transcript.         We haven't seen the transcript yet.              So

  25       where did you get the transcript?

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   1                           MR. CAIN:    Sidney Powell's lawyers sent it

   2       to everybody.

   3                           MS. HALL:    Well, I haven't seen it.            I

   4       didn't get it.

   5                           MR. CAIN:    Well, that's not on me.

   6                           MS. HALL:    I didn't say it was.            I'm just

   7       saying he hasn't seen the transcript.

   8                           THE DEPONENT:       No.    Show me

   9       the transcript.

  10                           MR. CAIN:    All right.         So here on

  11       page 181 --

  12                           MR. ARRINGTON:       This Barry Arrington.           I'm

  13       going to put on the record that I sent the transcript to

  14       everyone.

  15                           THE REPORTER:       Who just spoke?

  16                           MR. ARRINGTON:       This is Barry Arrington.

  17                           I don't know why you're saying you haven't

  18       seen it.     I sent it to everyone.

  19                           MS. HALL:    I'm not saying you didn't,

  20       Barry.     I'm just saying I did not receive anything, and

  21       neither did Ingrid.       So that's all I'm saying.

  22                    Q.     (By Mr. Cain)       I'll go about it this way

  23       since we don't have --

  24                    A.     Therefore, I haven't reviewed it.

  25                    Q.     Outside of the transcript -- I mean, you

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   1       can just testify now.          Do you or do you not know how

   2       Dr. Coomer flipped the Election?

   3                    A.     I believe I know how the election was

   4       influence and/or stolen, yes.

   5                    Q.     And I -- you used a passive.             I asked -- I

   6       said Dr. Coomer.       You know how Dr. Coomer, at least

   7       according to your -- your analysis, how he was involved in

   8       flipping the election, true?

   9                    A.     I know that Coomer was a director of

  10       strategy and security for Dominion voting systems, and in

  11       that capacity and owning the adjudication process

  12       in -- in that system, I know where the election

  13       was -- was affected, yes.            I know where it was

  14       compromised.

  15                           And Eric Coomer is responsible for those

  16       things, and therefore, I think that I know -- actually I

  17       know that I know -- how Dominion was able to affect or

  18       leave open vulnerabilities to allow for the election to

  19       be stolen.

  20                    Q.     Right.     And you've testified -- you've

  21       testified at length in questions from Ms. Powell's lawyers

  22       about that specific topic, right?

  23                    A.     Yep.

  24                    Q.     Just a few weeks ago.             And you said that

  25       you hadn't reduced, as of that time, your analysis to some

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   1       written format or report.

   2                           Have you done that now?             Have you prepared

   3       a report reflecting your analysis?

   4                           MS. HALL:      Objection.         Relevance.

   5                    A.     No.   I did.      I provided a diagram -- a

   6       very crude diagram that the public can understand.                  I

   7       worked on the deviations between the -- four deviations

   8       that happened inside the Dominion system.

   9                    Q.     (By Mr. Cain)        Okay.       Let me make sure -- I

  10       want to make sure we get this on the record.

  11                    A.     Can you hear me?

  12                    Q.     Yeah, who's speaking?

  13                           MR. KIMREY:       I'm sorry.        This is Blaine

  14       Kimrey.

  15                           So we're new to this matter.             I'm

  16       wondering, just for clarification, Mr. Cain, if you have

  17       a copy of the sworn statement, could you enter it in the

  18       deposition since you're talking about it a lot?

  19       And Mr. Oltmann has acknowledged that he did give a sworn

  20       statement, so maybe if we could actually see it and he

  21       could confirm it as entered in the deposition, that would

  22       make everything easier to follow.                Just a suggestion.

  23                           MR. CAIN:      I appreciate it.         I'm moving

  24       off that now because I asked him the question outside of

  25       this sworn statement, and I'm not -- I just don't have

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   1       time to address that.

   2                    Q.       (By Mr. Cain)         So let me -- let me get back

   3       on to what I was talking about.                 You had testified that

   4       you -- that you had done analysis in this -- of behavioral

   5       deviations and tech deviations, it's part of what you

   6       said.

   7                             And then I asked you, Has this been reduced

   8       to writing?         And you said it -- you referenced a schematic

   9       or something that we could all understand.                 Is that fair?

  10                    A.       Yes.    So I've been assisting with

  11       gathering information related to how the Dominion system

  12       works.     So I was able to -- I've done it in different

  13       parts, related to even like the ICX machine, the ability

  14       to bypass the ICX in cases of balance outstanding or the

  15       alignment being off.

  16                             So I've done multiple things where I've

  17       written out diagrams on how the system can be

  18       manipulated -- be manipulated inside of the -- inside of

  19       the Dominion system, depending on which part you have.

  20                    Q.       Well, we'll conclude on this as probably

  21       the last topic.         On Exhibit 103, which we previously

  22       marked from your recent disclosures, this is

  23       Document 0 -- I believe it's small -- but it is 0881,

  24       which is a diagram -- it looks like a voting system

  25       diagram.     I want you to --

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   1                           (Phone ringing.)

   2                           THE REPORTER:          Just a moment.   I can't

   3       hear.

   4                           THE DEPONENT:          I don't know why it came

   5       through my phone.          Hold on.

   6                    Q.     (By Mr. Cain)          So Exhibit 103 has a diagram

   7       that I think is what you're referring to.               Can you confirm

   8       that this is the diagram that you were just talking about?

   9                    A.     Yes.

  10                    Q.     Okay.     So the -- the work that you've done

  11       regarding -- at least as of this date regarding

  12       Dr. Coomer's participation in flipping the election, in

  13       part, is reflected on this particular diagram that we're

  14       looking at, correct?

  15                    A.     Those -- that diagram walks through the

  16       vulnerabilities of the Dominion voting systems and the

  17       possible ways to, what I call, big cons and small cons.

  18       Small cons to keep you distracted, and the big con of how

  19       you were able to take invalidated fraudulent votes and

  20       then reconnect them with people that vote.

  21                    Q.     And your -- your conclusion is that

  22       Dr. Coomer's part of the big con; is that right?

  23                    A.     My conclusion is that -- that Eric made

  24       comments related to making sure that President Trump was

  25       not going to win.          And I did not make statements related

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   1       to that Biden was going to win because I didn't hear

   2       that.    I just heard that President Trump was not going to

   3       win, and those came from him.

   4                           And I validated him, and then after that I

   5       validated his social posts, which are very boisterous

   6       and -- that validate that -- number one, he's not in a

   7       position where he could influence it.                    And number 2, he

   8       said he would influence it.              And number 3, that his clear

   9       bias and hatred for just the country, police officers,

  10       and his support for antifa was -- was well noted.

  11                    Q.     (By Mr. Cain)          Okay.       Well, that's

  12       different than what you've testified to before in terms

  13       of --

  14                    A.     How is that different?

  15                    Q.     -- to actually having -- I had understood

  16       that you said from a technical standpoint, Dr. Coomer was

  17       involved in rigging the election, which would affect

  18       results, and you even testified to this -- in places like

  19       Antrim County; in Mesa County, Colorado; and Cobb County,

  20       Georgia?

  21                    A.     That he would have the ability to do that

  22       and he's in a position to do that, absolutely.

  23                    Q.     Okay.

  24                    A.     I was very clear on that.               I've been clear

  25       the entire time.       I've never once changed anything about

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   1       what I've said, not once.

   2                    Q.     Well, and you've said, in fact, that

   3       he -- you -- at least in your last testimony, that you're

   4       95 percent sure that he actually engaged in that activity

   5       of flipping the election.

   6                    A.     I don't have a transcript.

   7                           THE REPORTER:          I'm sorry.       I can't

   8       understand Ms. Hall.

   9                    A.     I don't even know if that's a question or

  10       not.

  11                    Q.     (By Mr. Cain)          Yeah.       You have a high

  12       degree of certainty -- you've testified already --

  13                    A.     I do.

  14                    Q.     -- in the deposition with the Powell

  15       attorneys that you have a 95 percent degree of certainty

  16       that Dr. Coomer was involved in flipping the election.

  17                    A.     Yes.

  18                    Q.     All right.        By the way, while I'm thinking

  19       about it, you -- do you hold yourself out as an election

  20       security expert?

  21                           MS. HALL:       Objection.          Relevance.

  22                    A.     No, I'm a data guy.

  23                    Q.     (By Mr. Cain)          Okay.       So you would agree

  24       with me that you are not an election security expert?

  25                           MS. HALL:       Objection.

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   1                           THE DEPONENT:          Should I answer?

   2                    A.     Okay.     So I built a system that

   3       develops --

   4                           THE REPORTER:          I'm sorry.    I'm sorry, sir.

   5       Can you slow down just a bit?

   6                    A.     I built a system that creates quality

   7       scores, relevant inspectors, and correlations of data on

   8       individual DNA of an individual.                 I built the

   9       architecture behind a system that allows for us to

  10       perform very well, actually above anyone else in the

  11       country related to how we position messaging in front of

  12       millions of people.          I built that.

  13                           We're one of the largest first-party data

  14       aggregators in the nation when I ran my company.                  I know

  15       that within a couple of days of me coming out and talking

  16       about what information I did have, I had death threats.

  17       I know that that -- those death threats have continued

  18       through the last nine months.

  19                    Q.     (By Mr. Cain)          Sir, my question was

  20       election security expert.             Do you hold yourself out as an

  21       expert in election security issues?

  22                    A.     I would hold myself out as an expert in

  23       system architecture.          I would hold myself out at -- and I

  24       can prove over time as a two-time Ernst & Young

  25       entrepreneur of the year nominee and one-time finalist in

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   1       2020, after going through some rigorous tests by many of

   2       the people on those panels, that I know what I'm talking

   3       about when it comes to code and when I'm talking about

   4       when you are talk about the Black Box, RUP kits, having

   5       people overseas write code for you.                   What the

   6       implications are of having connections to different

   7       systems that are not secured.              Having internet access

   8       with the ability to access those systems.

   9                             From an architecture standpoint, I could

  10       punch holes in what Dominion has built over and over and

  11       over again.         I don't need to know that you have to take a

  12       stack of votes and put it through the system.                    I have to

  13       know that you can secure those votes through technology

  14       that allows for transparency, which is what the system is

  15       supposed to be built on.

  16                    Q.       You're -- you're speaking quickly, which is

  17       find except for Laurel.           She's probably going to kill both

  18       of us after this deposition.

  19                             My -- you're not answering my question.

  20                    A.       I did answer your question.

  21                    Q.       Have you -- let me ask a different question

  22       and see if you can answer this one.

  23                             Do you have any experience working in

  24       elections or in election security?

  25                             MS. HALL:    Objection.          Relevance.

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   1                    Q.     (By Mr. Cain)          You can answer.

   2                           MS. HALL:       Please explain how this is

   3       relevant to your defamation claim, Charlie.

   4                           MR. CAIN:       Nope.

   5                           MS. HALL:       Okay.      Well, then move on.        And

   6       you're done.

   7                           MS. DEFRANCO:          He's done.

   8                           MS. HALL:       What's the time?

   9                           THE VIDEOGRAPHER:            It's three hours and

  10       three minutes.

  11                           MS. HALL:       Thanks.        We're done, Charlie.

  12                    A.     Can I answer this last question?

  13                    Q.     (By Mr. Cain)          Yeah.       You're going to

  14       answer potentially more, but why don't you finish

  15       this with -- we have tomorrow, obviously set aside as

  16       well, but go ahead.

  17                           MS. HALL:       No.     Charlie.       You have PCU

  18       United tomorrow, Shuffling Madness, and CD Solutions.                      So

  19       there will be no questions that are posed to Mr. Oltmann.

  20                    A.     I'm going to answer this question if I can

  21       because it's fresh in my mind.

  22                           THE DEPONENT:          Can I answer it?

  23                    A.     Okay.     I have not worked in Dominion,

  24       Sequoia, ESNS, Hart, Clear Ballot, I've never worked

  25       inside of an election system.               With that said, there are

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   1       certain things that you have to do in order to secure a

   2       system.

   3                           I did and was a CEO of a company that did

   4       MSP services, so I understand that's Managed Service

   5       Provider, which is the IOT of an internet of things --

   6                           THE REPORTER:       I'm sorry.   Of the

   7       internet?      I just didn't hear the word.

   8                           THE DEPONENT:       Internet of things.

   9                    Q.     (By Mr. Cain)       I-O-T.

  10                    A.     We also have an e-commerce platform that

  11       is a headless design.        It services some fortune 100

  12       companies in the United States.             So I'm very familiar

  13       with security, and as it relates to how the systems

  14       interconnect and the API that are available, how to move

  15       things offline and online.           How to find out or discover

  16       whether or not something is or is not connected to the

  17       internet, and the probability of those things being

  18       connected to the internet by way of looking at the math

  19       and science, which is why I used mathematical equations

  20       to figure out whether or not this is probable.

  21                           So it leads me back to fact-checking the

  22       information related to the system architecture.               It's a

  23       simple process that anyone that's involved in technology

  24       goes through in order to make sure that they can validate

  25       or invalidate their theory.

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   1                           In this case the theory came back, and I

   2       was able to look at what would probably happen in Georgia

   3       as an example on early January that related to, and it

   4       came true.      The system came down, it came back up.            We

   5       were able to validate other information that we call

   6       offline information in order to validate that there was a

   7       probable system interference.

   8                           Now, whether or not that system

   9       interference was caused by Dominion is -- is not

  10       even -- it's not even up for debate.                It's not up for

  11       debate.     Dominion has a system that Antrim, Mesa County,

  12       and other counties were able to validate would show that

  13       in the math of how they calculate votes.

  14                           Dominion was complicit in that behavior,

  15       that is -- and I think that I have enough expertise and

  16       technology that I can come to that conclusion without

  17       actually working for Dominion.

  18                           MR. CAIN:    I'm prepared to move forward

  19       with additional questions which counsel seems to believe

  20       that --

  21                           MS. HALL:    We're done.         No, your three

  22       hours is up, Charlie.        I'm going to do some clarification

  23       now with my client here.

  24       /////

  25       /////

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   1                                      EXAMINATION

   2       BY MS. HALL:

   3                    Q.      So, Joe, you were asked by Mr. Cain about

   4       this contact for your ability to get on a call.                   Who -- or

   5       not who reached out to you, but did you reach out to that

   6       person or --

   7                    A.      No.

   8                    Q.      -- did they reach out to you?

   9                            Explain that.

  10                    A.      They reached -- they reached out to me.

  11                    Q.      Can you explain that a little bit more?

  12                    A.      I never made a proactive approach to a

  13       person that got me on the antifa call.                   I wasn't the one

  14       that did the reaching out.             They reached out to me.

  15                    Q.      And what was the purpose of you getting on

  16       that call?

  17                    A.      It was just to discover antifa

  18       journalists.        And if you go back to October 15th, I

  19       believe it was, I'd have to check -- either October 15th

  20       or 14th, I was in an FEC meeting.                And I said, We have

  21       been -- we have infiltrated antifa.                   Based on that call,

  22       that I got all the information I was able to collect

  23       afterwards, that said that, Hey, we were able to uncover

  24       these antifa journalists and uncover these antifa

  25       journalists, the next day an antifa journalist wrote an

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   1       article about the fact that I had threatened antifa

   2       journalists on that -- in that FEC meeting.

   3                           That was prior to the election, before I

   4       even knew Dominion's name.           I knew their name, but I

   5       didn't know the significance of Dominion across the

   6       country.

   7                    Q.     And these journalists were actually doxing

   8       you, correct?

   9                    A.     Yes, and they were using -- they weren't

  10       just doxing me.       They were doxing other people.          They

  11       were using systems and relationships that they had.

  12       People that were working in other places, such as working

  13       in vet centers.       That they would gather information of

  14       people that owned pets, and they would report those pets

  15       to the animal control to say that they were abusing their

  16       animals.

  17                           They would report people for their kids,

  18       to CPS, that said that they were abusing their kids.                 So

  19       they used their positions in this web of -- or group of

  20       people in order to intimidate, threaten, dox, and cause

  21       harm to other people in the community.              It wasn't just

  22       me.

  23                           MS. HALL:    Okay.      We're complete.

  24                           MR. ARRINGTON:       I'm going to have some

  25       follow up.

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   1                           THE REPORTER:       Who's speaking?

   2                           MR. ARRINGTON:       This is Barry Arlington.

   3                           MS. HALL:    No.     No.        Barry, we're not

   4       going to -- we're not going to agree to that.

   5                           MR. ARRINGTON:       I don't care if you agree,

   6       Andrea.     This is a deposition.          I'm counsel at the

   7       deposition, and I'm going to do some cross-examination.

   8                                    EXAMINATION

   9       BY MR. ARRINGTON:

  10                    Q.     My first question -- so, Mr. Oltmann, I

  11       have a couple of questions about your prior testimony.

  12       The question is this:        In response to one of Mr. Cain's

  13       questions, you said about -- about whether Dr. Coomer was

  14       affiliated with antifa.         I thought you said, Nor did I

  15       believe --

  16                           THE REPORTER:       I'm sorry.        Just a moment.

  17       Just a moment.       Just a moment.        Just a moment.       Just a

  18       moment, please.       There are multiple people talking, and I

  19       cannot hear the question.

  20                           MR. ARRINGTON:       I'll repeat the question.

  21                    Q.     (By Mr. Arrington)         So I believe you said

  22       in response to one of Mr. Cain's questions about

  23       Dr. Coomer's association with antifa, that, quote -- I

  24       tried to jot this down -- quote, Nor did I believe after

  25       conducting research he, meaning Dr. Coomer, would

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   1       associate himself with --

   2                           Did I -- did I misunderstand you?        I

   3       thought you believed that he was associated with antifa.

   4                    A.     Yes, I did.      So let me clarify that.       This

   5       is the context part where it's taken out of -- when I did

   6       the original research on Eric Coomer, and I found out

   7       that he had a doctorate in nuclear engineering, I did

   8       not, at that point in time back in September, feel that

   9       he was -- he wasn't my target.             I thought maybe he was

  10       CIA or FBI.

  11                           I did not believe -- I couldn't understand

  12       why someone who was -- had a doctorate in nuclear

  13       engineering would associate himself with antifa.             And

  14       since he wasn't the person I was looking for at the time,

  15       I just filed all this stuff away for Eric Coomer as he

  16       was on that call, but I didn't understand the

  17       significance of it.       Does that make sense?

  18                           When I verify that that's who he was, it

  19       just didn't seem normal to me that a person that has a

  20       doctorate in -- in nuclear engineering would be involved

  21       in this type of -- in this type of organization.

  22                           So as I went through and revalidated

  23       information related to his social posts and started doing

  24       more research on Mr. Coomer and, you know, his history of

  25       being involved in the skinhead movement and some of the

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   1       other things that he had done related to information

   2       we've been able to dig up, I certainly believe that he

   3       was a part of the antifa movement and had a significant

   4       role in antifa just based on someone else knowing who he

   5       was and what his capabilities are and the breadth of what

   6       Dominion voting systems does across the nation, the

   7       influence that they have.

   8                           Does that clarify that?

   9                    Q.     (By Mr. Arrington)         Yes.   Thank you.

  10                           You also said that you provided certain

  11       information to Ms. Powell.           I'm going to -- I'm sorry for

  12       this.     For some reason there was a misdirection that you

  13       didn't get the transcript of your testimony from last

  14       month.

  15                           But at one point -- I'm reading from the

  16       transcript -- it says -- you testified that you may have

  17       sent Sidney Powell some of this information.

  18                           MR. ARRINGTON:       And for counsel's

  19       information, I'm reading from page 138, starting at

  20       line 4.     I'll start over.

  21                    Q.     (By Mr. Arrington)         And you testified that

  22       you may have sent Sidney Powell some of this information

  23       you were gathering.       You have specific recollection that

  24       you did send it to her?         If so, when?

  25                           And you answered, So other than the

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   1       information that I had provided, if I had sent anything to

   2       Sidney, it would have been with Randy Corporon on it as

   3       far as lawyer to lawyer.

   4                           So is it a fact that you're -- you did not

   5       communicate directly with Ms. Powell, that -- that you

   6       communicated with her through Mr. Corporon?

   7                    A.     Yeah.     So I -- I'm going to say this

   8       because I actually went back and listened to everyone

   9       else's depositions as well.              I did not have any direct

  10       conversations with Sidney Powell.                 All right?   Those

  11       conversations happened through attorneys.                 So me and

  12       Sidney Powell directly did not have any conversations.

  13                    Q.     So you've testified that you've done

  14       extensive research regarding Dr. Coomer; is that correct?

  15                    A.     Yes.

  16                    Q.     Can you summarize some of the things that

  17       you found out about his background that you have personal

  18       knowledge of in terms of your research that would lead

  19       you -- that would lend credence to your accusation that he

  20       was associated with antifa and that he was a -- I don't

  21       remember your exact words, but a -- someone who was an

  22       agitator or aggressive or however you want to suggest

  23       that?

  24                    A.     Well, there's someone that -- yeah, so as

  25       I went through and did research, I was able to uncover

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   1       certain things about Mr. Coomer.              One of which is being a

   2       part of the skinhead movement.             Two, the way that he

   3       spoke was -- you know, it's pretty -- it's pretty vulgar.

   4       And where he speaks that vulgarity and how he speaks it,

   5       lend credibility to how antifa acts as well.

   6                           Then you have the -- the information that

   7       Eric wrote specifically about his wife where he talked

   8       about sexually battering, urinating on, making bark like

   9       a dog and some of the other things that Eric did.                 And

  10       then publicly put that information out there in an effort

  11       to humiliate his wife.

  12                           Then there's the -- the post that he put

  13       up, and the things that he admitted to about being a drug

  14       addict and getting in fights and being the person that --

  15       that not only is -- you know, I guess a nuclear student

  16       or a physicist, that is -- that can beat up people.

  17       Right?

  18                           And I'm paraphrasing some of the things

  19       that I have learned about him.             And then you look at the

  20       other things that came up related to how he treats

  21       people, and talking about other people that had worked

  22       with Eric Coomer.

  23                           So there's just not a lot of redeeming

  24       stuff that's out there about Eric Coomer relating to --

  25                    Q.     Let me ask you this:            Did you have any

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   1       occasion to find out anything that he personally said

   2       about his own mental health?

   3                    A.     It --

   4                           MR. CAIN:       Let me -- hold on, Mr. Oltmann.

   5       Mr. Arrington, I've done this in prior depositions, and I

   6       don't want there to be -- my silence to be

   7       misinterpreted.       That I believe you're outside of the

   8       scope of the discovery order, and I would object on that

   9       basis.     But out of deference to you, if I can just have

  10       that running understanding, I won't interrupt your

  11       questions.

  12                           MR. ARRINGTON:          I appreciate that,

  13       Mr. Cain.      I would suggest that everything that I'm

  14       talking about here can be tied back into questions that

  15       you asked on direct.          So if the court reporter could read

  16       back the question, I'd appreciate it.

  17                           (The last question was read.)

  18                    A.     The answer is yes.            He had a writing where

  19       he said that -- again, I'm trying to find the writings

  20       themself.      But admits to being bipolar, admits to having

  21       a drug problem, admits to lying multiple times, not just

  22       the times that he's admitted to lying when he said that

  23       the posts were fabricated or deleting information.                 So

  24       he -- there's a habit, I would say, of -- of this.

  25                    Q.     (By Mr. Arrington)            But did your research

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   1       lead to crimes, such as DUIs and jail time?

   2                            MR. CAIN:    Same objections.

   3                            Barry, I didn't understand from your prior

   4       comment if you'll agree that I can just have a running

   5       objection.        We can disagree about scope issues or

   6       propriety of going outside of the discovery order.                     But

   7       if I can have a running objection, I won't have to make

   8       it.

   9                            MR. ARRINGTON:       Yes.       We can disagree

  10       whether my cross relates back to your direct and,

  11       therefore, it would be within the discovery order, and to

  12       the extent that your direct was within the discovery

  13       order.     And yes, we can agree to your standing objection.

  14                            MR. CAIN:    Thank you.

  15                            THE REPORTER:       I'm sorry.       Just a moment.

  16       Counsel, there -- Counsel, there is background noise

  17       coming through Mr. Arrington's mic that I'm having

  18       trouble hearing you all the time, Mr. Arrington.

  19                            MR. ARRINGTON:       I'm sorry about that.

  20                            Could you repeat the last question or

  21       reread the last question?

  22                            (The last question was read.)

  23                            MR. ARRINGTON:       That was the question

  24       before last.        Let me make another run at it.

  25                    Q.      (By Mr. Arrington)          Did you have occasion

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   1       to -- to find out any information about whether he had

   2       committed DUIs and been in jail?

   3                    A.       Yes.    He bragged about that in some posts

   4       that he put on a blog site -- I believe it was a Google

   5       blog site -- about having a good lawyer, otherwise, he

   6       would have spent quite a bit of time in jail.

   7                             And then through subsequent information

   8       that I was able to uncovered, it showed that he had

   9       multiple DUIs.

  10                             MR. ARRINGTON:         That's all of my

  11       questions.        Thank you.

  12                             MR. CAIN:      Well, unless counsel for

  13       Mr. Oltmann is going to allow us to continue, we're done

  14       for today.

  15                             MS. HALL:      No.     We're done.

  16                             THE VIDEOGRAPHER:            Going off -- going off

  17       the record/, the time is 2:07.

  18                             (Video deposition concluded.)

  19                             THE REPORTER:         Same orders, Counsel?

  20       Transcript orders?

  21                             MR. KIMREY:        I don't know what those

  22       orders are.         I can tell you what I want, though.            Should

  23       I do that?

  24                             THE REPORTER:         Yes.

  25                             MR. KIMREY:        So I'd like a rough ASCII.

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   1       How quickly can you produce that?

   2                           THE REPORTER:       How soon would you like it?

   3                           MR. KIMREY:      I don't want to engage in any

   4       sort of cruel and unusual request.                  You know, I don't

   5       know what else you have.          What's reasonable for you given

   6       other things you need to work on?

   7                           (Discussion off the record.)

   8                           MR. ARRINGTON:       This is Barry Arlington.

   9       Do we have to order today or can we order later?                       Can we

  10       put --

  11                           THE REPORTER:       You can order later if

  12       you'd like.

  13                           MR. ARRINGTON:       Okay.        Thank you.

  14                           THE REPORTER:       Mr. Cain, your order?

  15                           MR. CAIN:     Whatever Scotty says.            I

  16       believe we did a one-day turnaround expedite.

  17                           MS. HALL:     And this is Andrea Hall.               We'll

  18       just -- whatever, I guess -- yeah, reading and signing.

  19       I don't know what your turnaround is on that, but, yeah,

  20       we'll take the reading and signing.

  21                           THE REPORTER:       Have I covered ordering,

  22       counsel?

  23                           MS. BOEHMER:      This is Margaret Boehmer on

  24       behalf of Eric Metaxas.         We'll take an Etran.           We don't

  25       need it expedited, and we do not need a rough.

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   1                           THE REPORTER:          Other counsel?

   2                           MR. HOLWAY:       This is Eric Holway on behalf

   3       of the Trump campaign, and I would like an e-transcript

   4       as well, please.       And no, I don't need it expedited.

   5       Thank you.

   6                           THE REPORTER:          Any other counsel?      No?

   7                           I'm off the record.

   8                                *   *    *    *     *   *     *

   9                           WHEREUPON, the foregoing deposition was

  10       concluded at the hour of 2:11 p.m.                   Total time on the

  11       record was 3 hours and 25 minutes.

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   1                           I, JOSEPH OLTMANN, the deponent in the

   2      above deposition, do hereby acknowledge that I have read

   3      the foregoing transcript of my testimony and state under

   4      oath that it, together with any attached Amendment to

   5      Deposition pages, constitutes my sworn testimony.

   6

   7      ______ I have made changes to my deposition

   8      ______ I have NOT made any changes to my deposition

   9

  10

                                        ____________________________

  11                                    JOSEPH OLTMANN

  12

  13      Subscribed and sworn to before me this _____

  14      day of __________________, 20____.

  15

  16      My commission expires: ____________________

  17

  18                                                 __________________________

                                                     Notary Public

  19

  20                                                 __________________________

                                                     Address

  21

  22

  23

  24

  25         Job No. TX4792290

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   1                              REPORTER'S CERTIFICATE
   2
   3
   4                           I, Laurel S. Tubbs, a Registered
   5       Professional Reporter and Notary Public within the State
   6       of Colorado, do hereby certify that previous to the
   7       commencement of the examination, the deponent was duly
   8       sworn by me to testify to the truth.
   9                           I further certify that this deposition was
  10       taken in shorthand by me at the time and place herein set
  11       forth and thereafter reduced to a typewritten form; that
  12       the foregoing constitutes a true and correct transcript.
  13                           I further certify that I am not related
  14       to, employed by, nor of counsel for any of the parties or
  15       attorneys herein, nor otherwise interested in the result
  16       of the within action.
  17                           My commission expires September 1, 2023.
  18
  19                                <%22402,Signature%>
                                    LAUREL S. TUBBS
  20                                Registered Professional Reporter,
                                    Certified Realtime Reporter
  21                                and Notary Public
  22
  23
  24
  25

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   1     Coomer, Eric, Ph.D. v. Donald J. Trump For President, Inc.

   2     Joseph Oltmann Job No. 4792290

   3                           E R R A T A      S H E E T

   4     PAGE_____ LINE_____ CHANGE________________________

   5     __________________________________________________

   6     REASON____________________________________________

   7     PAGE_____ LINE_____ CHANGE________________________

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   9     REASON____________________________________________

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  20     __________________________________________________

  21     REASON____________________________________________

  22

  23     ________________________________               _______________

  24     Joseph Oltmann                                       Date

  25

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   1     defrancoi@yahoo.com

   2                               September 9, 2021

   3     RE: Coomer, Eric, Ph.D. v. Donald J. Trump For President, Inc.

   4     DEPOSITION OF: Joseph Oltmann 4792290

   5            The above-referenced witness transcript is

   6     available for read and sign.

   7            Within the applicable timeframe, the witness

   8     should read the testimony to verify its accuracy. If

   9     there are any changes, the witness should note those

  10     on the attached Errata Sheet.

  11            The witness should sign and notarize the

  12     attached Errata pages and return to Veritext at

  13     errata-tx@veritext.com.

  14            According to applicable rules or agreements, if

  15     the witness fails to do so within the time allotted,

  16     a certified copy of the transcript may be used as if

  17     signed.

  18                                 Yours,

  19                                 Veritext Legal Solutions

  20

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     [sure - think]

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                           Colorado Rules of Civil Procedure

                         Chapter 4, Disclosure and Discovery

                                        Rule 30



             (e) Review by Witness; Changes; Signing. If

             requested by the deponent or a party before

             completion of the deposition, the deponent shall be

             notified by the officer that the transcript or

             recording is available. Within 35 days of receipt

             of such notification the deponent shall review the

             transcript or recording and, if the deponent makes

             changes in the form or substance of the deposition,

             shall sign a statement reciting such changes and

             the deponent's reasons for making them and send

             such statement to the officer. The officer shall

             indicate in the certificate prescribed by

             subsection (f)(1) of this rule whether any review

             was requested and, if so, shall append any changes

             made by the deponent.



             DISCLAIMER:       THE FOREGOING CIVIL PROCEDURE RULES

             ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

             THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

             2019. PLEASE REFER TO THE APPLICABLE STATE RULES OF

             CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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